                                               Case 5:19-cv-01435-EGS Document 1 Filed 04/04/19 Page 1 of 97

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    l. (a) PLAINTIFFS                                                                                                                                      DEFENDANTS
    UNITED STATES OF AMERICA                                                                                                                             MILLER'S ORGANIC FARN4 and AMOS MILLER
                                                                                                                                                         MB Millcreek School Road, Bird-in-Hand, PA 17505
          (b)     Count) ofResrdence                ofFfft         Lisred Plarntifr                                                                       Counry ofResidence ofFirst Lisled D€fendant La ncaster
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    Gerald B. Sullivan, Assistant U.S. Attorney
    U S. Attorney's Office,615 Chestnut St., Suite 1250
    Philadelphia, PA 1 91 06-4476

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                COMPLAINT:                                            UNDER RULE 23. F R Cv P                                                                                                         JURY        Df,Y,{\D: a Yes                         XNo
    VIII.        RELATED CASE(S)
                 IF ANY                                             t5.t   t\!tuchoas):   '        JUDCE Edward Smith (terminated March                                        2017) DocKETNUMBER 16-cv-2731
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    04to4t2019                                                                                                                                                                                                     /si Gerald B. Sullivan AUSA
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         RECFIPT      ,                         AMOUNT                                                                                                                   ]UDGE                                      MAG ]UDGE
             Case 5:19-cv-01435-EGS Document 1 Filed 04/04/19 Page 2 of 97


                                   IN THE UNITED STATES DISTRICT COURT FOR
                                    THE EASTERN DISTRICT OF PENNSYLVANIA
                            CASE MANAGEMENT TRACK DESIGNATION FORM

T]NITED STATES OF AMERICA

                  Plaintiff,

                                                                  CIVIL ACTION
                                                                  NO.
MILLER,S ORGANIC FARM aId
AMOS MILLER,

              Defendants.


In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See $ 1 :03 ofthe plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk ofcourt and serve on
the ptaintiff and all other parties, a Case Management Track Designation Form specifting the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus              -   Cases brought under 28 U.S.C. $ 2241 through $2255.                      ()
(b) Social Security - Cases requesting review ofa decision ofthe Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                          ()
(c) Arbitration        -   Cases required to be designated for arbitration under Local   Civil Rule 53.2.   ()
(d) Asbestos  - Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                                  ()
(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management
    by the court. (See reverse side of this form for a detailed explanation of special
     management cases.)                                                                                     ()
(0   Standard Management Cases that do not fall into any one ofthe other tracks.                            (x)

                                           t()
                                           \-!'6
 April 4,2019                                                                       United States of America
Date                                       ERALD B.   SULLMN, AUSA Attorney for Plaintiff
2 15-861-8786                                   215-861-861   8              Gerald.Sullivan@usdoj.gov

Telephone                                     FAX Number                       E-Mail Address
(Civ.660) I0/02
                              Case 5:19-cv-01435-EGS Document 1 Filed 04/04/19 Page 3 of 97
                                                                      T]NITED STATES DISTRICT COURT
                                                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                        DESICNATION FORM
                         (to be used   b   counsel or pro se   plantlJto hdrcate        the category of   he   case   Ior   the purpose   ofassignnent to the appropnote colendat)

Address        orplaintili:                               615 Chestnut St., Suite 1250, Philadelphia, PA 191064476
Address of Defendant                                                                          648 Millcreek School Road
Place ofAccident. Incident or Transaction                                                                        Bird-in-Hand, PA 17505


REL4TED CASE. IF ANY:

case     Number:                   16-cv-2732                              Judge
                                                                                                  Edward Smith                                        Datererminared: 0312812017
Civil    cases are deemed related           \\hen yeJ is ans\\ered to any ofthe lollowing questions:

L       ls this case related to property included in an earlier numbered suil !,ending or within one )ear                                                                         No    {
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2.      Does this cas€ involve the same issue of fact or grow out ofthe same transaction as a pdor suit
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4.      Is this case a second or successive habeas corpus. social security appeal. or pro se civil rights                                                 Yes                     No
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        case filed by the same individual?

I ceniry that, to my knowledge, lhe within cas€                   E   ls   IE      is   not   related to any case now pending or within one year previously terminated action in
this court excepl as noted above.

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        5.     Patent                                                                                      tr         5      Motor Vehicle Personal Injury
E       6.     Labor-Managemenl Relations                                                                  tr         6      Otler Personal Injury /Phase specily)
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                                                                                        ARBIIRATION CERTIFICATION
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I,            Gerald B. Sullivan, AUSA                              , counsel   ofrecord orpro      se   plamtift do hereby certiry

               Pursuant to Local Civil Rule 53 2, N 3(c) (2), tha! to the best ofmy knowledge and belief, the da$ages recoverable in this                                            civil action   case
               exceed the sum of $150.000.00 exclusive olinterest and co$s:


     {         Reliefother than monetary damages is sought.



DAIE          04l04l2o19                                                                                                                                               57300 (PA)
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NOTE: A trial de novo wlll be a trial bytury only iflhere has been compliarc€ with F R C P 18
         Case 5:19-cv-01435-EGS Document 1 Filed 04/04/19 Page 4 of 97




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,

                               Plaintift                    CIYIL ACTION
                                                            NO.
               v.

MILLER'S ORGANIC FARM and
AMOS MILLER,

                           Defendants.

                         COMPLAINT FOR PERMANENT INJUNCTION

       Plaintiff United States of America, through the United States Attorney for the Eastern

District of Pennsylvania, avers as follows:

                                               INTRODUCTION

       1.      On behalf of the Food Safety and Inspection Service ("FSIS"), the United States

brings this statutory injunction proceeding under 21 U.S.C. $$ 467c and 674.

       2.      As an agency within the United States Department of Agriculture ("USDA"),

FSIS is charged with enforcing both the Federal Meat Inspection Act, 21 U.S.C. $ 601, et seq.

(the "Meat Act" or "FMIA"), and the Poultry Products Inspection Act,2l U.S.C. $ 451, et seq.

(the "Poultry Act" or "PPIA"), among other laws. See Declaration of Troy Hambright, Team

Lead Compliance Specialist, FSIS Enforcement Operations Branch ("Hambright Decl."), which

is attached as Exhibit   "A"   and supports this Complaint, at fl 8.

       3.      Congress enacted the Meat Act and the Poultry Act ("the Acts") to protect

consumers' health and welfare, by assuring that meat and poultry products are wholesome,

unadulterated, and properly marked, labeled, and packaged. See 2l U.S.C. $$ 451, 452,602

(Congressional statements of findings and policy); Hambright Decl., fl 8. The Acts empower the

Secretary of Agriculture (and, through delegation, FSIS) to regulate and inspect meat, poultry,
           Case 5:19-cv-01435-EGS Document 1 Filed 04/04/19 Page 5 of 97




meat food products, and poultry products that are both intended for human consumption and

prepared for distribution in commerce.

        4.          This action follows the United States' 2016-2017 subpoena enforcement action in

the Eastem District of Pennsylvania against Miller's Organic Farm and its owner, Amos Miller

(collectively, "Miller's"), both of Lancaster County, Pennsylvania. See United States v. Miller's

Organic Farm and Amos Miller, EDPA No. l6-cv-2731.In that action, this Court enforced

FSIS' subpoena demands that Miller's make meat and poultry records and facilities sufficiently

available to enable the agency to assess: (a) product safety; (b) any need for federal inspection;

and (c) related compliance with the Acts.

        5.          Miller's business is neither small-scale nor primarily local. During just three

months in mid-2016, for example, Miller's commercially sold to nationwide customers at least

9,015 pounds of red meat food products (for $85,062.00) and 5,085 pounds of poultry products

(for $39,050.00). See Supporting Declaration of Paul Flanagan, Investigator within FSIS' Office

of Investigation, Enforcement, and Audit ("Flanagan Decl."), which is attached as Exhibit "B,"

at fl'1i6, 19,23.

        6.          Under the Acts, establishments like Miller's, unless they have a USDA-approved

exemption (which Miller's does not have or qualifu for based on its current business model),

must obtain a USDA-FSIS "Federal Grant of Inspection" before they may slaughter, prepare,

process, or sell for distribution meat, poultry, meat food products, or poultry products. Federally

inspected establishments must: (a) demonstrate the ability to meet USDA-FSIS requirements for

producing safe, wholesome, and properly labeled products; (b) satisfy sanitation, facility, and

operational standards; and (c) have food safety programs. Hambright Decl.,         tT'lT   10, 12-16;


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Flanagan Decl., 125; see also   2l U.S.C. $$ 455-457 (Poultry Act);21U.S.C.             $$ 603-608 (Meat

Act); 9 C.F.R. Parts 304-317,381 (Subparts D, E, J, K, and N), 416, and       417   .



       7.      This civil action is necessary because Miller's, despite having received from FSIS

separate February 2017   andMay 2017 written notices of waming, and having had abundant

opportunity to correct FSlS-noticed violations, has persisted in: (a) violating the Acts' federal

inspection requirements; (b) marketing misbranded meat and poultry products; and (c) refusing

FSIS' offers to assist the farm to comply with the Acts.

        8.     The United States now seeks permanently to enjoin and restrain Miller's Organic

Farm and Amos Miller from further endangering public health and safety by their:

               a.      continuing to violate   2l U.S.C. $$ a58(a)(1), a58(a)(2)(B),       610(a), and

 610(c)(2), through slaughtering, processing, offering for sale, selling, offering for transport, and

transporting, in commerce, meat, meat food products, poultry, and poultry products that the

Acts require be federally inspected but that have not been federally inspected;

               b.      continuing to violate 21 U.S.C. $$ a58(a)(2)(A) and 610(c)(l), through

 selling, transporting, offering for sale or transportation, or receiving for transportation, in

 commerce, meat, meat food products, poultry, and poultry products that are capable of use as

human food but that are misbranded at the time of such sale, transportation, offer for sale or

transportation, or receipt for transportation, because, for example, the products, though intended

 for commercial sales, have not been federally inspected and lack accurate "federally inspected"

 label language that is required for commercially sold products; and




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           Case 5:19-cv-01435-EGS Document 1 Filed 04/04/19 Page 7 of 97




               c.      continuing to violate 21 U.S.C. $$ 460(b) and 642, through refusing to

provide FSIS investigators with necessary access to Miller's (i) records on meat and poultry

product sales in commerce, and (ii) meat and poultry slaughter and processing facilities.

                                  JURISDICTIO            AND VENUE

        9.     The Court has jurisdiction over the subject matter and all parties in this action

under 21 U.S.C. S 674 and28 U.S.C. $$ 1331, 1337, and 1345. Under its general equity power,

the Court also has jurisdiction to enjoin conduct from occurring that endangers public health and

safety, such as conduct that violates the Acts and their implementing regulations.

         10.   Venue is proper in this District under 28 U.S.C. $$ 1391 and 1395, because

violations of the Acts are occurring   -   and defendants have their principal place of business   - in
Lancaster County, Pennsylvania, which is within this District.

                                             THE PARTIES

         11.   Plaintiff is the United States of America, on behalf of FSIS. The USDA

Undersecretary for Food Safety has delegated to FSIS the power to enforce the Acts. See 7

C.F.R. $$ 2.53(a)(2)(i), (ii); Hambright Decl., fl 8.

         12.   A self-styled "private membership association," defendant Miller's Organic Farm,

which is also known as Amos Miller Organic Farm, is an unincorporated, non-partnership farm

business located at 648 Millcreek School Road, Bird-in-Hand, Pennsylvania 17505. Flanagan

Decl., fl 6.

         13.    Defendant Amos Miller solely owns Miller's Organic Farm, which, on

information and belief, files its tax returns under his name. Mr. Miller resides on the farm

property at 648 Millcreek School Road, Bird-in-Hand, Pennsylvania 17505. He is responsible


                                                     4
             Case 5:19-cv-01435-EGS Document 1 Filed 04/04/19 Page 8 of 97




for, and has authority over, all of the meat and poultry operations at Miller's Organic Farm.

Flanagan Decl.,    \ 6; see also United States v. Miller's Organic Farm and Amos Miller, EDPA
No. 16-cv-2732, Docket Entry No. 7 (Order),           at   p.   1 and   Finding No.   l.

         14.      At its farm site, Miller's: (a) slaughters, processes, and stores meat and poultry

products; and (b) operates a dairy and retail store business. The store business includes in-person,

telephonic, email, and internet sales of meat, poultry, meat food products, and poultry products

that require federal inspection. Telephonic, email, and internet sales include sales to customers

who are located throughout the United States and that Miller's fulfrlls itself by transporting, or

by arranging delivery services to transport, the purchased products. Flanagan Decl. flfl 6,19,23.

                                           LEGAL STANDARDS

                                  Provisions of the Meat and Poultry Acts

                                                The   MeatAct

         15.      The Meat Act prohibits selling, transporting, offering for sale or transportation, or

receiving for transportation, in interstate commerce            -   unless first USDA/FSIS-inspected and

passed   -   meat or meat food products that are capable of being used as human food. 21 U.S.C.


$ 610(c)(2).

         16.      In   2l   U.S.C. $ 661(c) and 9 C.F.R. $ 331.2, Congress and the Secretary of

Agriculture have designated Pennsylvania as a state that is subject to Titles I and IV of the Meat

Act(21U.S.C. $$ 601 to 624 and67l to 680). As aresult, these Titles apply evento Miller's

meat slaughter and processing operations and transactions that occur wholly intrastate within

Pennsylvania, to the same extent and in the same manner as if Miller's conducted the operations

and transactions in or for interstate commerce. See Harrtbright Dec1., fl 8.


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       17.     Among the provisions of Titles I and IV of the Meat Act that apply even to

Miller's intrastate operations and transactions in Pennsylvania   are those that:

               a.     authorize FSIS inspectors to conduct ante-mortem inspection of Miller's

                      livestock and post-mortem inspection of their carcasses and resulting meat

                      food products, in order to prevent any adulterated meat or meat food

                      product that is capable of being used as human food from entering into,

                      flowing within, or burdening commerce (see 21 U.S.C. $$ 604, 606);

               b.     restrict Miller's from slaughtering any such livestock, and from preparing

                      for commerce any such meat or meat products, except in compliance with

                      Meat Act requirements (see 21 U.S.C. $ 610(a));

               c.     restrict Miller's from selling in commerce, transporting in commerce,

                      offering for sale or transportation in commerce, or receiving for

                      transportation in corlmerce, any meat or meat products that the Meat Act

                      requires be federally inspected, unless first USDA/FSIS-inspected and

                      USDA/FSIS-passed (see     2l U.S.C. $ 610(c)(2));

               d.     prohibit Miller's from selling, transporting, offering for sale or

                      transportation, or receiving for transportation, in commerce, meat or meat

                      food products that are capable of use as human food but misbranded (for

                      example, by virtue of labeling that is false or misleading because lacking

                       accurate "Not for Sale" or "federally inspected" product identification) at

                      the time of such sale, transportation, offer for sale or transportation, or

                      receipt for transportation (see   2l U.S.C. $$ 601(n)(1), 610(c)(1));   and



                                                 6
        Case 5:19-cv-01435-EGS Document 1 Filed 04/04/19 Page 10 of 97




               e.       authorize USDA: (i) to have access to Miller's business facilities that

                        involve the processing, sale, or transport of meat or meat food products;

                        (ii) to examine those facilities and related inventory and records; (iii) to

                        copy such records; and (iv) to take reasonable samples of Miller's meat

                        and meat food product inventory, upon payment of fair market value. See

                        21 U.S.C. S 642.

                                            The Poultry   Act

       18.     The Poultry Act similarly prohibits selling, transporting, offering for sale or

transportation, or receiving for transportation, in interstate commerce   - unless   first USDA/FSIS-

inspected and passed   - poultry   or poultry products that are capable of being used as human food.

21 u.s.C. $ as8(a)(2)(B).

        19.    Under 21 U.S.C. $ a5a(c)(1) and 9 C.F.R. $ 381.221, Pennsylvania has been

designated as a state to which Sections 451-453,455-459, and 461-467d of the Poultry Act

apply. These sections apply even to Miller's poultry operations and transactions that occur

wholly intrastate within Pennsylvania, to the same extent and in the same manner as if Miller's

conducted the operations and transactions in or for interstate commerce. See Hambright Decl.,

fl8.

        20.    Among the Poultry Act provisions that apply even to Miller's intrastate

operations and transactions in Pennsylvaniaare those that:

               a.       atthorize FSIS inspectors to conduct ante-mortem inspection of Miller's

                        poultry, and post-mortem inspection of their carcasses and the resulting

                        poultry products, in order to prevent any adulterated poultry or poultry


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          product that is capable of being used as human food from entering into,

          flowing within, or burdening commerce (see 2l U.S.C. $$ a55(a), (b));

    b     restrict Miller's from slaughtering any such poultry, and from preparing

          for commerce any such poultry or poultry products, except in compliance

          with Poultry Act requirements (see 2l U.S.C.     $ 458(aX1));

    c.    restrict Miller's from selling in commerce, transporting in commerce,

          offering for sale or transportation in commerce, or receiving for

          transportation in commerce, any poultry or poultry products that the

          Poultry Act requires be federally inspected, unless first USDA/FSIS-

          inspected and USDA/FSIS-passed(see        2l U.S.C. $ a58(aX2)(B));

    d.    prohibit Miller's from selling, transporting, offering for sale or

          transportation, or receiving for transportation, in commerce, poultry or

          poultry products that are capable of use as human food but misbranded

          (for example, by virtue of labeling that is false or misleading because it

          lacks accurate "Not for Sale" or "federally inspected" product

          identification) at the time of such sale, transportation, offer for sale or

          transportation, or receipt for transportation (see 21 U.S'C. $$ 453(h)(1),

          as8(a)(2)(A)); and

    e     authorize USDA: (i) to have access to Miller's business facilities

          involving the processing, sale, or transport of poultry or poultry products;

          (ii) to examine those facilities and related inventory and records; (iii) to

          copy such records; and (iv) to take reasonable samples of Miller's poultry


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                        and poultry product inventory, upon payment of fair market value See            2l

                        u.s.c.   $ 460(b).

                                    FACTUAL ALLEGATIONS

                                 The Subpoena Enforcement Action

       21.     In early 20t6, FSIS received second-hand information that Miller's was          -   without

required federal inspection, and in possible violation of the Acts     -   slaughtering, processing, and

selling meat, meat food products, poultry, and poultry products. Flanagan Decl. tl9.

       22.     In order to assess that information through what is known as a "verification

review," FSIS unsuccessfully tried to gain access to Miller's meat and poultry facilities and

business records without having to issue a subpoena. Flanagan Decl. flfl 5, 9.

        23.    FSIS verification reviews seek to ensure that facilities like Miller's are, at a

minimum, complying with the Acts and their implementing regulations relating to sanitation,

recordkeeping, labeling, and other requirements. Such reviews         fulfill the agency's mission to

ensure that meat and poultry products intended for both human consumption and sale/distribution

in commerce are safe, wholesome, not adulterated, and correctly marked, labeled, and packaged.

Hambright Decl., flt]8, l7; Flanagan Decl., fl'l|4-5.

        24.    In April 2016, because Miller's refused to grant surveillance access to FSIS, the

USDA-FSIS Administrator served Amos Miller with a subpoena duces tecum requiring Miller's

to provide the agency with access to the farm's: (a) meat-related and poultry-related facilities;

and (b) post-January   t,2016 business records. Miller's persisted, however, in refusing to provide

such access. Flanagan Decl.   fl l0;   see also United States v.   Miller's Organic Farm   and Amos

Miller, EDPA No. 16-cv-2732, Docket Entry No. 7, atp.2 and Finding Nos. 4 through 9 (finding


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that: (i) USDA had the power to issue the subpoena, which sought relevant information and

access; and   (ii) "Defendants refused to comply with the subpoena, on grounds that it infringed

their First Amendment right to freedom of association, because Miller Organic Farm is a'Private

Membership Association"').

       25.       The United States therefore, on June 3,2016, sued   Miller's in this Court to

enforce the agency's subpoena. United States v. Miller's Organic Farm and Amos Miller, EDPA

No. 16-cv-2732 (the "Subpoena Enforcement Action"), Docket Entry No.          1.


       26.      In late June 2016, following a hearing at which both defendants appearedpro se,

the Court in the Subpoena Enforcement Action (the Honorable Edward G. Smith) ordered

enforcement of the subpoena and required Miller's to give FSIS access to the farm's meat-and-

poultry-related facilities and records. Id.,DkL Entry No. 7, atpp.l-2, Finding No. 3 ("Because

Miller's Organic Farm is a slaughtering and/or processing facility, defendants are obliged to

provide the USDA with: (a) access to the farm's business operations; and (b) an opportunity to

examine defendants' facilities, operations, and records") (citing 21 U.S.C. $$ 460, 642); see also

id. atp.3, Finding No. 12 ("Defendant Amos Miller . . . failed to show cause why Miller's

Organic Farm and he should not produce the summoned information and grant the summoned

access"); id. atp.4 ("Violation of this Order is punishable as a contempt of court").

       27.      The Court specifically found that "Execution of the subpoena duces tecumby

USDA will not infringe on defendants' First Amendment right to freedom of expressive

association." Dkt. Entry No. 7, atp.2, Finding No. 10.




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       28.       The United States Court of Appeals for the Third Circuit later dismissed     Miller's

appeal from that enforcement order. See Amos         Miller and Miller's Organic Farm v. USA,3d

Circuit No. 16-3076, Order (Dec. 21, 2016).

       29.       In mid-August 2016, the United States moved this Court to order Miller's to show

cause why   it should not   be held in   civil contempt for failing to produce certain subpoenaed   sales


invoices that the government believed were likely to evidence Miller's commercial sales of meat

and poultry products. EDPA No. 16-cv-2732, Dkt. Entry No. 16.          Miller's based its continuing

refusal to produce those invoices on its status as a private membership association whose

members opposed disclosing their identities and personal information.l

       30.       At an early November 2016 show cause hearing, Miller's appeared with counsel

for the first time, and the parties entered into a Consent Order. Id.,DkL Entry Nos. 25-30.

       31.       The Consent Order's terms included that: (a) by late December 2016, and in order

to avoid a non-compliance penalty, Miller's would complete a rolling production of redacted

meat-and-poultry-related sales invoices for three calendar months of 2016; (b) within 90 days

after the end of that production, FSIS could retum to the farm to assess whether Miller's had

cured FSlS-determined/noticed violations; and (c) within ten days following FSIS' return visit,

the United States would file a case-closing report. Id.,Dkt. Entry No. 30.




       1
             generatly United States v. Allgter,No. 11-cv-2651,2012WL 355261, at*l-2,4 &
           See
nL.7,1 1, 15 (E.D. Pa. Feb. 3, 3012) (Stengel, J.) (in granting summary judgment and permanent
injunction for United States against Lancaster County farmer who organized raw milk business
as private membership association and who stated that he did not own or control the association,
Court reasoned that the association's "contract . . . is merely a subterfuge to create a transaction
disguisedasasale[.]...Thepracticalresult...isthatconsumerspaymoneytoMr.Allgyerand
receive raw milk[.] . . . As such, despite any artful language, the agreement involves the transfer
of raw milk for consideration, which constitutes a sale and is lawfully regulated by the FDA").
                                                      l1
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              Defendants' Long-Continuing Violations, Despite FSIS Warnings

        32.    FSIS reviewed approximately 2,862 invoices (all dated between July and

September 2016) that   Miller's produced, in a highly disorganized format, under the Consent

Order. By affrdavit, Mr. Miller testified that, to the best of his knowledge: (a) these represented

all of Miller's relevant invoices for those months; and (b) although many invoices failed to

include purchasers' State location information, his agents and he had not redacted such

information. Based on Mr. Miller's affidavit, the govemment proceeded as though the

defendants had completed the ordered production. Flanagan Decl. fl 23; see alsoUnited States'

Case Closing Letter (Mar. 27,2017), which is attached hereto as Exhibit     "C," atp.2

(summarizing chronolo gy).

       33.     From the produced invoices, FSIS found that, during the three-month period,

Miller's sold in commerce (much of it interstate): (a) approximately 9,015 pounds of red meat

food products, for $85,062.00; and (b) approximately 5,085 pounds of poultry products, for

$39,050.00. Flanagan Decl. fl 23.

        34.    On February 10,2017, FSIS sent Miller's aNotice of Warning, advising that

FSIS' review of Miller's business activities showed that Miller's was engaging in operations that

the Acts prohibit. Those operations included slaughtering, processing, selling in commerce, and

transporting in commerce non-federally-inspected meat, meat food products, poultry, and poultry

products. The Notice of Warning outlined the statutory requirements and violations and what

Miller's needed to do to bring its operations into compliance. Specifically, FSIS wamed Miller's

that it had to: (a) apply for and obtain a Federal Grant of Inspection; (b) conduct, consistent with

exemption requirementS, ffiy operations that might qualify for an exemption from inspection


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under the Acts and their implementing regulations (though FSIS' investigation found no

operations that would so qualify); and/or (c) pending compliance, cease any activities involving

FSlS-regulated meat and poultry products. Hambright Decl. fl 20;Flanagan Decl., ll\2a-25;

Notice of Warning (Feb. 10, 2017), attached as Exhibit      "l"   to Hambright Decl.

         35.      In the February 2017 Notice of Warning, FSIS emphasized:

                  The Agency takes violations of the statutes and regulations very
                  seriously and strictly enforces the inspection, exemption, and other
                  requirements to ensure food safety and protect the public health.
                  To this [end], FSIS applies its [Meat Act and Poultry Act]
                  authorities . . . to control, detain, and seize meat and poultry
                  products that are adulterated, misbranded, non-federally inspected,
                  or not exempt from inspection. . . . FSIS also initiates enforcement
                  actions and sanctions, consistent with its public health objectives,
                  for continued or serious violations. In addition to warning letters to
                  seek compliance, the statutes provide for criminal and civil
                  sanctions, including injunctions to enforce and prevent violations,
                  and criminal prosecution. . . .

                  Compliance investigators will conduct follow-up activities at your
                  facility to verify your compliance with FSIS requirements[] . . .
                  [by] no later than March 23,2017. Please be advised that FSIS
                  may initiate action, including referral to the United States Attorney
                  for initiation of criminal or civil proceedings, if the Agency
                  determines that [you] continue to violate Agency requirements,
                  despite notice and opportunity to comply. Also, please be advised
                  that meat and poultry products found at the facility that are in
                  violation of Agency requirements are subject to detention and
                  seizure.

See   Exhibit   "l"   to Hambright Decl., atp.4.

         36.      On March 16,20t7, FSIS conducted a follow-up inspection visit to Miller's.

Flanagan Decl., fl 26.

         31.      In a late March 2017 reportto the Court in the Subpoena Enforcement Action, the

United States explained that, although the action could be closed, nevertheless: (a) the subset of


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subpoenaed records that      Miller's had produced to FSIS under the Court's orders "revealed

serious statutory and regulatory violations that     [Miller's], despite notice and opportunity[] . . .

failed to correct" and that may "lead to the United States seeking further federal district court

enforcement in a separate proceeding"; and (b) if Miller's were to continue to fail to correct

those violations,    it faced the "risk that USDA/FSIS will detain and/or seize [Miller's] meat and

poultry products and/or . . . refer the [agency's] . . . findings of violations to the United States

Department of Justice for consideration of criminal and/or civil enforcement" that "could include

. . . a new   civil action seeking injunctive relief."   See Case Closing Letter (Mar. 21,2017), which


is attached as Exhibit "C."

        38.        On May 24,2017, FSIS sent Miller's a second Notice of Warning. FSIS explained

that all of the Miller's meat and poultry products that FSIS observed during the March 16,2017

site visit lacked accurate identification as either "Not for Sale" or "USDA-inspected." These

products included: (a) "meat and meat food products and poultry products in the coolers and

freezers bearing the    Miller's Organic label"; (b) hog carcasses hanging in     a cooler; (c)   poultry

products; and (d) meat, meat food products, and poultry products stacked floor-to-ceiling in a

new cooler/freezer. The Notice of Warning added that Mr. Miller had acknowledged, during the

site visit, that he has "continued to sell and ship these non-exempt and non-federally inspected

meat and meat food products, and poultry products to [his] customers/members in . .           .



Pennsylvania and across state lines." See Notice of Warning (May 24,2017), attached as Exhibit

"2" to Hambright Decl., at pp. l-2;      see also Harctbright Decl. flfl 21, 23;Flanagan Decl. fltf 27-33.

         39.       The May 2017 Notice of Warning also noted that, during the March 2017 site

visit, FSIS had again advised and counseled Mr. Miller about the Acts' requirements that his


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meat and poultry and related products be federally inspected, unless USDA-exempted from

inspection. Further, the Notice stated that, during the site visit:

                  IFSIS had] expressed the importance for [Miller's] to take action to
                  change [its] current operations and referred [it] to the possible
                  business options open to Miller's as noted in our [February 2017]
                  Notice of Warning and other information previously provided [to
                  Miller's]. These options included: applying for a grant of Federal
                  inspection service, fchanging its business model to] conduct[]
                  retail and/or custom operations under the exemption from
                  inspection, ceasing any activities involving FSIS-regulated
                  products, or conducting other business activities in compliance
                  with applicable State and Federal laws. [Mr. Miller] acknowledged
                  reading the Notice of Warning, but stated that the notice did not
                  offer any solutions because [Miller's] customers/members do not
                  want their products to be inspected.

Notice of Warning (May 24,2017), at p. 2-3 (interpolations added) (also documenting how FSIS

againexplained to Mr. Miller, in detail, ways for Miller's to apply for a grant of Federal

inspection or try to change its business model in an effort to qualify for an exemption).

        40.       The May 2017 Notice of Warning reemphasized to Miller's that USDA/FSIS:

(a) takes violations of its statutes and regulations seriously; (b) strictly enforces the Acts'

requirements; and (c) would consider making (if Miller's violations continued) a referral to the

United States Attorney, for initiation of criminal or civil proceedings. Id. atp.4.

        41.       Apart from when Mr. Miller telephoned FSIS' Enforcement Operations Branch in

late June 2017 to pose several questions (which a Compliance Specialist answered), Miller's did

not meaningfully respond to either Notice of Warning. Over ayear has now since passed, and

Miller's still   has not further responded to FSIS or applied for a Federal Grant of Inspection. See

Hambright Decl.,'lTfl 23-3 1 ; Flanagan Decl.,'fl'll 30, 33-35.




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        42.      In November 201J, FSIS yet again sent its investigators to the farm to review

meat-and-poultry-related facilities and records, in order to assess whether Miller's (despite its

lack of response to the warning notices) was meaningfully attempting to correct the noticed

violations and to come into compliance with the Acts. During that visit, Mr. Miller reiterated his

view that, because Miller's is a "private membership association," it does not have to follow

federal regulatory law. He further wamed that if the investigators entered his facilities, which he

was not permitting them to do, they would be doing so at their "own risk." The investigators then

served a new administrative subpoena duces tecum on Mr.         Miller that sought   access to   facilities

and documents.    Miller's   has never taken steps to comply   with that subpoena. See Flanagan Decl.,

1T34.

        43.      FSIS has thus provided Miller's with: (a) detailed written and oral wamings;

(b) explanations and responses to questions; (c) offers ofguidance and counsel; and (d) abundant

opportunity to cure cited violations. FSIS did not provide all of that in a vacuum. Rather, Mr.

Miller separately learned about the Acts' requirements and his need for compliance during the

2016-2017 Subpoena Enforcement Action in this Court.

        44.      Despite this notice and passage of time, Miller's continues to violate the Acts by:

(1) slaughtering and processing meat and poultry without federal inspection; and (2) offering for

sale or transportation in interstate and intrastate (Pennsylvania) commerce, and commercially

selling and transporting both interstate and intrastate, non-federally-inspected, misbranded meat,

meat food products, poultry, and poultry products.

        45   .   Miller's persists in these violations not out of ignorance of the law or of ways to

cure the violations but because Mr.    Miller wrongly "maintains that his participation in [his]


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private membership association[], which sell[s] [poultry and meat products] in . . . corlmerce,

cannot be regulated by [USD       A]." United   States v. Allg,,er, No.   1   1-cv-265l,2012 WL 355261, at

*4 (E.D. Pa. Feb. 3,2012) (interpolations added) (rejecting such an argument, in action on behalf

of FDA permanently to enjoin interstate sales of raw milk).

          46.     Miller's   has been using its private membership association structure not only as

an attempted shield against USDA enforcement but also as a self-justification for co-opting

USDA's regulatory role. On matters such         as whether the benefits       of Miller's meat and poultry

products sufficiently outweigh their risks, and thus can and should be sold to Miller's

"members," Miller's has been arrogating to itself FSIS' authority and attempting to supplant the

agency.

          47.     But in proscribing the conduct that Miller's refuses to cease, Congress determined

that commercial sales of non-federally-inspected meat and poultry pose unacceptable risks to

public health and safety. Moreover, Congress did not permit individuals and establishments such

as   Miller's unilaterally to opt out of or   evade the   Acts' mandates by: (a) self-organizingas

private membership associations; (b) invoking members' interests in not complying with the

Acts and in purchasing and consuming non-federally-regulated meat and poultry products; and

(c) thereby effectively nulliffing federal government oversight over commercial meat and

poultry sales.

          48.     On these matters of public health and safety on which Congress has legislated,

and that are generally applicable to all similarly situated meat and poultry establishments,

Miller's may not, and should not be permiued to, serve as a law unto itself.




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        49.         Miller's past and continuing conduct shows that, absent permanent injunctive

restraints from this Court: (a) Miller's      will continue to violate Meat Act and Poultry Act

provisions that are the focus of this Complaint; and (b) the United States' and the public's

interests   will   be irreparably injured.2

                                                COUNT ONE

        50.         The United States incorporates by reference, as if fully stated here, Paragraphs       1



through 49 above.

        51.         From July 2016 to present, despite FSIS' wamings to cease the violations,

defendants Amos        Miller and Miller's Organic Farm have been violating the Meat Act by

slaughtering, processing, selling in commerce, offering for sale in commerce, and/or transporting

in commerce non-federally-inspected meat and meat food products intended for human

consumption, all in violation of 21 U.S.C. $$ 610(a) and 610(c)(2).

                                                COUNT TWO

            52.     The United States incorporates by reference, as if fully stated here, Paragraphs        1




through 51 above.

        53.         From luly 2016 to present, despite FSIS' warnings to cease the violations,

defendants Amos        Miller and Miller's Organic Farm have been violating the Poultry Act by

slaughtering, processing, selling in commerce, offering for sale in commerce, offering for



        2
         See, e.g., United States v. Richlyn Labs., lnc.,827 F. Supp. 1145, 1150 (E.D. Pa. 1992)
("because Congress has seen fit to act in a given area by enacting a statute, irreparable injury
must be presumed in a statutory enforcement action"); see also United States v. Allgyer, No. 11-
 cv-265l,2Ol2WL 355261, at *4 (E.D. Pa. Feb. 3,2012), quoting United States v. Diapulse
Corp. of Am.,457 F.2d25,28 (2d Circ. 1972) ("The passage of the fFood, Drug, and Cosmetic
Act] is, in   a sense, an implied finding that violations   will harm the public   and ought,   if   necessary,
be   restrained").
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transportation in commerce, and/or transporting in commerce non-federally-inspected poultry

and poultry products intended for human consumption, all in violation of 21 U.S.C. $$ a58(aXl)

and 458(a)(2XB).

                                         COUNT THREE

        54.    The United States incorporates by reference, as if fully stated here, Paragraphs    1



through 53 above.

       55.     From July 2016 to present, despite FSIS' warnings to cease the violations,

defendants Amos     Miller and Miller's Organic Farm have been violating the Meat Act by selling

in commerce, offering for sale or transport in commerce, and/or transporting in commerce meat

and meat food products that were: (a) capable of use as human food; and (b) misbranded at the

time of such sale, transportation, and/or offer for sale or transportation, because the products

(i) lacked accurate identification either as'Not for Sale" or   as "federally inspected," and

(ii) therefore contained false and misleading labeling, all in violation of 21 U.S.C. $$ 610(a) and

61O(cX1).

                                          COUNT FOUR

        56.    The United States incorporates by reference, as if fully stated here, Paragraphs    1



through 55 above.

        57.    From July 2016 to present, despite FSIS' warnings to cease the violations,

defendants Amos     Miller and Miller's Organic Farm have been violating the Poultry Act by

selling in commerce, offering for sale or transport in commerce, and/or transporting in commerce

poultry and poultry products that were: (a) capable of use as human food; and (b) misbranded at

the time of such sale, transportation, and/or offer for sale or transportation, because the products


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(i) lacked accurate identification either as 'Not for Sale" or as "federally inspected," and

(ii) therefore contained false and misleading labeling, all in violation of 21 U.S.C. $$ a58(a)(1)

and 458(a)(2XA).

                                          COUNT FIVE

        58.    The United States incorporates by reference, as if fully stated here, Paragraphs I

through 57 above.

       59.     Defendants Amos Miller and Miller's Organic Farm continued to violate the Meat

Act on November 17,2017, by failing to allow FSIS investigators to have access to, and to

review, Miller's Organic Farm's meat-related facilities and meat slaughtering, meat processing,

and meat and meat food product sales records, all in violation of 21 U.S.C. 5 642. These

violations continue to date.

                                           COUNT SIX

       60.     The United States incorporates by reference, as if   fully   stated here, Paragraphs   1



through 59 above.

       61.     Defendants Amos Miller and Miller's Organic Farm continued to violate the

Poultry Act on November 17,2077, by failing to allow FSIS investigators to have access to, and

to review, Miller's Organic Farm's poultry-related facilities and poultry slaughtering, poultry

processing, and poultry and poultry product sales records, all in violation of   2l U.S.C. $ 460(b).

These violations continue to date.




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                            PRAYER FOR RELIEF

WHEREFORE, plaintiff United States of America respectfully requests the Court:

I.     To find that defendants Amos Miller and Miller's Organic Farm have been

       violating, and are likely to continue violating, the Meat Act and the Poultry Act

       by:

       A.     slaughtering and processing meat, meat food products, poultry, and

              poultry products that do not comply with the Acts;

       B      selling in commerce, offering for sale in commerce, offering for transport

              in commerce, and/or transporting in commerce non-federally-inspected

              meat, meat food products, poultry, and poultry products intended for

              human consumption;

       C      selling in commerce, offering for sale or transport in commerce, and/or

              transporting in commerce meat, meat food products, poultry, and poultry

              products that were or are capable of use as human food but were or are

              misbranded at the time of such sale, transportation, and/or offer for sale or

              transportation; and

       D      denying FSIS investigators access to Miller's Organic Farm's: (1) meat-

              related and poultry-related facilities; and (2) records relating to meat and

              poultry slaughtering, meat and poultry processing, and sales of meat,

              poultry, meat food products, and poultry products.




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II.   Permanently to enjoin     - under   the Court's authority to order injunctive relief, as

      provided in   2l U.S.C. $$ 467c and 674, and under the Court's       equitable authority

      -   defendants Amos   Miller and Miller's Organic Farm from directly or indirectly:

      A.      selling in commerce, offering for sale or transportation in commerce,

              and/or transporting in commerce non-federally-inspected meat, meat food

              products, poultry, and poultry products that are intended for human

              consumption and that require federal inspection under the Meat Act, the

              Poultry Act, or their regulations, as currently or later amended;

      B.      selling in commerce, offering for sale or transportation in commerce,

              and/or transporting in commerce meat, meat food products, poultry, and

              poultry products that are capable of use as human food but that are

              misbranded under the Meat Act or the Poultry Act, as currently or later

              amended, because, for example, lacking accurate "federally inspected"

              product identification;

      C.      refusing to provide FSIS compliance and investigative officials Meat Act-

              required and Poultry Act-required access to Miller's Organic Farm's

              facilities and records related to the slaughtering, processing, sale, and

              transportation of meat, meat food products, poultry, and poultry products.

UI    To grant the United States such other further equitable relief as the Court may

      deem   just and proper.




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                                          WILLIAM M. McSWAIN
                                          UNITED STATES ATTORNEY



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                         DECLARATION OF TROY HAMBRIGHT

        I, Troy Hambright, under 28 U.S.C. $ 1746, declare as follows:

        l.     The Food Safety and Inspection Service (FSIS) is a public health agency    within

the United States Department of Agriculture (USDA). I have been a USDA-FSIS employee since

1998.

        2.     Since 2015, I have been a "Team Lead Compliance Specialist" in FSIS'

Washington, D.C.-based Offrce of Investigation, Enforcement and Audit, Enforcement and

Litigation Division, Enforcement Operations Branch, in which I have also temporarily served      as


Acting Branch Chief

        3.     I submit this declaration to support the United States' April 2019 civil Complaint

for permanent injunctive relief in the United States District Court for the Eastem District of

Pennsylvania. In its Complaint, the United States, at USDA's and FSIS' request, seeks to require

Amos Miller and Miller's Organic Farm (collectively, "Milter's"): (1) to cease endangering the

public health and safety, including by commercially selling misbranded and non-federally-

inspected meat food and poultry products; and (2) to comply with the Federal Meat Inspection

Act,21 U.S.C. $ 601, et seq. (the "Meat Act" or "FMIA"), the Poultry Products lnspection Act,

2l U.S.C. $ 451, et seq. (the "Poultry Act" or "PPIA"),   and related regulations.

        4.     I base this declaration on: (a) my personal knowledge; (b) information that I

received orally or in writing during the course ofFSIS' investigation and review of Miller's,

which began in20l6; and (c) my experience (and facts leamed) as a Team Lead Compliance

Specialist and Acting Branch Chief.
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         5.     In my Team Lead position, I manage criminal, civil, and administrative cases that

FSIS' Office of Field Operations and FSIS' Compliance Investigative Division refer to my

Branch for enforcement.

         6.     In the course of my duties, as an FSIS Team Lead representative ofthe Secretary

of Agriculture, and in frequent consultation with USDA's Office of General Counsel, I routinely

apply (and help enforce) the FMIA, the PPIA, the Egg Products Inspection Act (EPIA), the

Humane Methods of Slaughter Act (HMSA), and their implementing regulations. I have received

training on subject areas that include federal administrative law as well as the statutory and

regulatory framework under which FSIS carries out its public health mission.

         7.     For businesses whose activities involve FSlS-regulated products, I, as Team Lead:

(a) review violations reports, administrative reports, investigatory materials, and case evidence to

evaluate alleged violations of the FMIA, the PPIA, the EPIA, and the HMSA; and (b) routinely

provide technical compliance guidaace, including on how properly to prepare, store, transport,

and sell (or offer for sale or transport) meat food, poultry, and egg products, and on how to

comply with federal inspection (and exemption from inspection) requirements. When businesses

are   unwilling or unable to comply with these [aws, my FSIS Branch and I tum to USDA's Office

ofGeneral Counsel for legal assistance, including, as appropriate, in seeking possible civil,

administrative, or criminal sanctions.

         8.     In 7 C.F.R.   S$   2.53(a)(2Xi)-(iii), the Secretary of Agriculture delegated to FSIS

the authority to adminjster and enforce the FMIA, the PPIA, and the EPIA. Congress enacted

these laws to ensure that meat, poultry, and egg products that are intended for human

consumption and that are sold. transported. or distributed in interstate commerce or even in




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wholly intrastate commerce in certain States like the Commonwealth of Pennsylvania             -   are safe,

wholesome, not adulterated, and correctly marked, labeled, and packaged.

        9.          The FMIA and the PPIA require FSIS to conduct daily monitoring and inspection

activities at facilities that slaughter livestock or poultry and that process meat food or poultry

products for sale or distribution in commerce. FSIS monitors and inspects products to ensure a

sanitary production environment in which potential food safety hazards are identified and

eliminated. Once meat and poultry products are USDA-inspected and USDA-passed by FSIS,

they are labeled with the offrcial USDA mark of inspection and can be sold in commerce.

        10.         Facilities that are subject to daily federal inspection must first seek a "Federal

Grant of Inspection" by contacting the FSIS Office of Field Operations (OFO) and completing an

application. If the OFO decides that the establishment should be subject to federal inspection,

OFO   will      issue a conditional, temporary grant ofinspection. To obtain a   final grant ofinspection,

the establishment will need to demonstrate its ability to meet regulatory requirements that

include implementing, maintaining, and following: (a) Sanitation Standard Operating

Procedures; (b) a Hazardous Analysis and Critical Control Point plan; (c) recordkeeping

procedrues; and (d) monitoring procedures.

        1   I   .   FSIS is aware of Pennsylvania-based meat and poultry businesses (including

establishments that appear to be Amish-owned or Mennonite-owned) that: (a) are similar to

Miller's; and (b) operate under USDA,{FSIS regulation.

        12.         The   FMIA and PPIA provide the possibility of limited exemptions from daily

inspection requirements for certain operations, including operations involving: (a) traditional and

usual retail and restaurant sales; (b) the slaughtering and preparing of livestock for personal use;

and (c) "custom" slaughtering and preparing oflivestock, carcasses, parts, and meat food and




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poultry products for certain non-paying family members, household members, guests,

employees, and/or neighbors.         ,See   21 U.S.C. $$ 454, 464, 623,661. An establishment must

conduct even these limited exempted operations in strict compliance with statutory and

regulatory requirements. These requirements ensure, among other things, that articles that are

exempted from daily inspection or not required to be inspected each day are not adulterated or

misbranded. See        2l   U.S.C. $$ a6a,623; 9 C.F.R. $$ 303.1, 381.10,416.1-416.6.

          13.         A "custom-exempt" facility is one that is exempt from federal (daily) inspection

requirements if it slaughters livestock or poultry that the livestock's or poultry's owner delivers

to the facility   -   and/or if the facility processes the carcasses and parts into meat food and poultry

products   -   exclusively for use in the livestock/poultry owner's household, by the owner, the

owner's household members, and/or the owner's nonpaying guests and employees. But even for,

and at, a "custom-exempt" facility:

                      a.      all articles that the facility prepares on a custom basis, and all containers

or packages containing those articles, must be: (i) plainly marked "Not for Sale" immediately

after being prepared (see 9 C.F.R. $ 317.16); and (ii) kept so identified until delivered to the

owl)er;

                      b.      operators are required to keep records (in addition to the records required

generally for FMIA and PPIA compliance) showing the numbers and kinds of livestock and

poultry slaughtered on a custom basis, the quantities and types ofproducts prepared, and the

names and addresses          ofthe owners of livestock, poultry, and products; and

                      c.      operations must be maintained and conducted in accordance with the

FMIA's     and the     PPIA's sanitation and facility standards, and must meet other requirements      -
addressing, for example, facility maintenance and grounds; pest control; inedible material




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control; pathogen control; water potability; sewage and waste disposal; cleanliness of equipment

and utensils; and hygiene   -   to ensure that custom-prepared products are not adulterated.      ,See 9


c.F.R. S$ 303.   1, 381. 10, 416.1-416.6.


           14.   "Custom-exempt" operators do not sell meat or poultry products. Rather,

"custom-exempt" operators merely provide a slaughter service for owners oflivestock and

poultry.

           15.   FSIS does not consider a facility and its operations to be "custom-exempt" merely

because the   facility labels its meat and poultry products   as   "not for sale." To the contrary,

regardless ofproduct labeling, the facilityioperator is not "custom-exempt" once          it offers its meat

food or poultry products for sale in commerce, even ifthe facility sells those products only to

members of its "private membership organization."       At that point, the products' intended     use

becomes commercial, the products' "not for sale" labeling becomes false and misleading, and the

commercial seller (even if a self-styled member of a private membership association) has

misbranded the products. See, e.g.,21 U.S.C. $ 453 (defining "misbranding" ofpoultry products

to include "(1) labeling that is false or misleading in any particular," or "(2) if it fails to bear on

its containers . . . the oflicial inspection legend. . . ofthe establishment where the article was

processed,and...suchotherinformation...astheSecretarymayrequire...toassuethatit

will not   have false or misleading labeling"); 21 U.S.C. $ 601 (similar definition      of

"misbranding" for meat food products); 21 U.S.C. $ a58(a)(2) and (3) (prohibiting the sale,

transport, or offer for sale or transport in commerce of misbranded poultry products and the

doing of"any act while they are being transported in commerce or held for sale after

transportation, which is intended to cause or has the effect ofcausing such products to be . .          .




misbranded"); 21 U.S.C. g 610(c) and (d) (similar prohibition regarding meat food products); 9



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C.F.R. $ 301.2 (term "misbranding" applies to meat food products with labeling that "is false or

misleading in any particular"); 9 C.F.R. $ 381.1 (same as to poultry products).

        16.     In addition to their exemptions for "custom" slaughter, the FMIA and PPIA

contain exemptions for certain retail operations. These exemptions are limited, however, ard

include specific requirements for the processing, labeling, and packaging ofproducts. Before

meat food and poultry products can be offered for retail sale, they must be federally

(USDA/FSIS) inspected.

        17.     Certain facilities are subject to periodic FSIS inspection and records inquiries and

reviews that are known "verification reviews." These include all facilities that: (a) are not under

active federal inspection (either because they are exempt or because FSIS has not yet determined

whether they require federal inspection); (b) slaughter livestock or poultry, or process meat food

or poultry products; or (c) store, or distribute in commerce, meat food or poultry products. FSIS

conducts these reviews to ensure that facilities are complying with the FMIA, the PPIA, and the

regulations described above that relate to sanitation, recordkeeping, labeling, custom exemption.

retail exemption, and other requirements.   ,See   21 U.S.C. $ 642 (facilities must, "upon notice by a

duly authorized representative of the Secretary, afford such representative access to their places

ofbusiness and opportunity to examine the facilities, inventory, and records thereof'); 9 C.F.R.

$ 320.4. Verification reviews may: (a) involve FSIS veterinarians, consumer safety officers,

investigators, and other program employees; and (b) include an examination of sanitation and

facilities; product inventory; water supply; sewage and waste disposal; pest control; inedible

material control; marking and labeling; recordkeeping; and compliance with custom exemption

requirements.




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           18.     When an FSIS verification review shows that a facility is not operating in

accordance with the Acts, FSIS, under its     FMIA and PPIA authority, may: (a) seize and detain

adulterated and misbranded product,      2l U.S.C. S$ 467A, 672; and (b) withdraw       any custom-

exempt privilege from an ou.ner or operator that demonstrates the inability or unwillingness to

operate in accordance with the Acts and FSIS' regulations.          2l U.S.C. $$ 464(1), 623.

        19.        In May 2016, I spoke with Amos Miller by telephone. We discussed that FSIS

had visited his farm to determine whether: (a) his meat, meat food products, poultry, and poultry

products were being federally inspected; and (b) he was conducting a retail and/or custom

slaughter operation. I explained to him FSIS' statutory rights to access and to examine         Miller's

meat-related and poultry-related facilities and records. When Mr. Miller protested that Miller's is

a private rather than a   public organization, I explained that his characterization of Miller's

business did not affect FSIS'jurisdiction or authority to review his meat-related and poultry-

related business for compliance with the FMIA and PPIA. I stressed that, without FSIS having

access to   Miller's meaFrelated   and poultry-related facilities   ald records, and being able to

determine the nature of Miller's operations, FSIS was being hindered from assessing Miller's

compliance with (and from being able to counsel Miller's in a fully informed way about how to

comply with) the FMIA and PPIA.

        20.        Approximately nine months later, on February 10,2017, my FSIS office sent

Miller's   a   Notice of Waming stating that FSIS' review of Miller's business activities and records

showed that Miller's was engaging in operations that the FMIA and PPIA prohibit. Those

operations included slaughtering, processing, selling in cornmerce, and transporting in commerce

non-federally-inspected meat, meat food products, poultry, and poultry products. The Notice           of

Waming outlined the statutory requirements and violations and what Miller's needed to do to



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bring its operations into compliance. Specifically, we told Miller's that it had to: (a) apply for

and obtain a Grant ofFederal Inspection; (b) conduct, consistent with exemption requirements,

any retail and/or custom meat/poultry operations that might qualifu for an exemption from

inspection under the FMIA, PPIA, and their implementing regulations (though none of Miller's

observed operations appeared to so qualify); and/or (c) pending compliance, cease any activities

involving FSlS-regulated meat and poultry products.    See   Notice of Waming (Feb. 10,2017),

Exhibit "1" hereto.

       21.     Three months later, on May    24,2017,my office sent Miller's    a second Notice      of

Warning, advising that, during a M arch 16,2017 farm visit, FSIS had found and/or observed,

among other things, that the following products lacked required, accurate identification as either

"Not for Sale" or "USDA-inspected": (a) "meat and meat food products and poultry products in

the coolers and freezers bearing the Miller's Organic label"; (b) hog carcasses hanging in a

cooler; (c) poultry products; and (d) meat, meat food products, and poultry products stacked

floorto-ceiling in a new cooler/freezer. That Notice added that, during the March     201 7 site   visit,

Mr. Miller "acknowledged that [he has] continued to sell and ship these non-exempt and non-

federally inspected meat and meat food products. and poultry products to [his]

customers/members in . . . Pennsylvania and across state lines." See Notice of Waming (May 24,

2017), attached as Exhibit "2" hereto.

       22.     At my request, FSIS' Philadelphia District Offrce, on two occasions (in March

2017 and then again on June 27,2017), sent Mr. Miller a package of information that:

(a) explained the process for applying for a USDA-FSIS Federal Grant of Inspection; and

(b) contained copies of the FMIA, the PPIA, applicable regulations, application forms, and a list




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ofFSIS employees who could be called for assistance. FSIS sent the second package to Mr.

Miller because, on June 27, 2017,he called me to request that FSIS re-send the documents.

        23.     On June   28,2017,I had another phone discussion with Mr. Miller, in follow-up to

a voice message he had    left for me. I explained that: (a) on May 24,2017, my office had sent

him the Notice of Waming of that date, by both regular mail and certified mail, but that the

certified copy had been lost in the mail;r (b) the May 2017 Notice of Waming was similar to the

February 2017 Notice of Waming and contained information about FSIS' March 2017 site visit,

ways Miller's could be brought into compliance, and agency contacts; (c) my office had

attempted to send a second certified copy of the May 2017 Notice of Waming to Miller's on

June24,2017, but that copy was retumed to my office with "refused" uritten across the

envelope; and (d) I was available to answer any questions Mr. Miller might have about the May

2017 Notice of Waming that we had mailed to him a third time, on June 27,2017, or the Federal

Grant of Inspection application papers.

        24.     During the June 28, 2017 call,I also answered Mr. Miller's question about

whether, if he were to come under federal inspection, the Commonwealth of Pennsylvania could

inspect his facility. (He stated a worry that the Commonwealth would seek to inspect his milk,

cheese, or meat operations.)   I responded that: (a) I could not speak for the Commonwealth,

which (unlike FSIS) does not have a meat inspection program; and (b) FSIS regulates only meat,

poultry, and eggs, not milk or cheese (FDA is the federal agency that regulates milk and cheese).




        I U.S. Postal Service tracking information showed that, on May 27, 2017 , the letter was in transit
to Mr. Miller. On June 22, 2017, tracking information was still showing the letter as being "in transit to
destination." I therefore called the Postal Service's I -800 number on that date to inquire why. A Postal
Service representative responded that: (a) something had likely happened to the letter; and (b) the Postal
Service would investigate the delivery status. On June 23, 201 7, a Harrisburg, Pennsylvania-based Postal
Service representative called me to state that: (a) the certified lefter had been lost; and (b) no further
information was available-

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When Mr. Miller asked me if I would contact Pennsylvania's Agriculture Department to inquire

whether it would inspect his milk and cheese operations even if his meat and poultry were

federally inspected, and to find out the Commonwealth's requirements, I suggested that he

contact the Commonwealth directly with his questions, because I could knowledgeably share

only FSIS requirements.

       25.     During the June 28, 2017 call, Mr. Miller expressed concem about the cost of

Miller's coming under federal inspection. I explained that: (a) there was no cost to apply for and

receive a gralt ofinspection; (b) there would be ongoing facility and regulatory requirements

(including relating to sanitation and recordkeeping) that he would have to meet if he obtained a

grant ofinspection; and (c) those requirements might have some associated costs.

       26.     During our June 28,2017 call, Mr. Miller asked whether, if he slaughters only one

or two bulls/cows and one pig a week, Miller's would be too small an operation to warant

federal inspection. I responded that, if Miller's slaughters livestock and sells its meat and

poultry, it must do so under federal inspection, regardless ofthe size of its operation, and that

only inspected meat and poultry can be sold to Miller's customers.

       27.     Further, during the call, Mr. Miller asked a variety of questions conceming food

safety programs, humane handling oflivestock, and general requirements       if his facility were to

undergo federal inspection. I answered his questions to the best of my ability and informed him

that he could work with the Office of Field Operations' Philadelphia District Office during the

application process for a grant of inspection.

       28.     Dwing that call, I also discussed the "custom slaughtering and preparation

exemption" under the FMIA, including that: (a) the custom exemption applies to a business or

person who slaughters and prepares livestock, and./or prepares game animals, belonging to




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someone else, for the personal use of the owner ofthose livestock/animals; (b) under 21 U.S.C.

g 623(a) and 9   C.F.R. $ 303.1(a)(2)-(a), custom operators must comply with all provisions of the

FMIA, unless otherwise excepted; (c) although custom-exempt meat firms are exempt from

carcass-by-carcass inspection and the presence of inspectors during operations, they are subject

to FSIS review for sanitary conditions; and (d) custom prodtrl may not be sold or donated.

           29.   Finally, during the June 28, 2017 call,l stressed that FSIS wants Miller's to be a

successful operation and that   it was unfortunate that Mr. Miller had operated for such   a long   time

while purporting not to know the federal requirements. I added that establishments of Miller's

size are able to operate successfully under FSIS inspection, and FSIS remained      willing to answer

Mr. Miller's questions and to assist him but, at the same time, Miller's cannot contilue to sell

uninspected meat and poultry to its customers in Pennsylvania and other states.

           30.   I memorialized some of.my June 28,2017 telephone discussion with Mr. Miller

in a letter that I mailed to Mr. Miller on luJy 26,2017. See Exhibit "3" hereto (July 26, 2017

letter).

           31.   As of today's date, Mr. Miller still has not applied for federal inspection or stated

to FSIS an intention to do so. He has not called or contacted me (or, to my knowledge, any of my

FSIS colleagues) since June 2017. My understanding is that Mr. Miller's last interaction with

FSIS was over a year ago, in mid-November 201 7, when he refused to permit FSIS investigators

access to his facilities and records.

           32.   Since the time of our last interaction, FSIS has continued to monitor   Miller's

Organic Farm's intemet presence, and believes that Miller's continues to sell non-federally-

inspected, misbranded meat food and poultry products in commerce.




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Exeurod on this        dry of April" 2019.




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                          v
USDA
            United State€ Department of AgriculbE




Sent by Ceaified   Mail

February 10, 2017
                                                                                        GOVERNIAENT
Mr. Amos Miller                                                                     J     EXHIBIT
                                                                                    I
Miller's Organic Farm                                                                           I
648 Millcreek School Road
Bird-in-Hand, Pennsylvania I 7505
                                                                                   I     H o.       t   +


NOTICE OF WARNING

Dear Mr. Miller:

Our office, the Enforcement and Litigation Division (ELD), within the U.S. Department of
Agriculture (USDA), Food Safety and Inspection Service (FSIS), has received a report showing
that you, doing business as Miller's Organic Farm (Miller's), are engaged in operations in
violation of the Federal Meat Irspection Act (FMLA) (21 U.S.C. $$ 601 et. seo.) and/or the
Poultry Products Inspection Act (PPLA) (21 U.S.C. $$ a58 et. seqJ. This determination is based
on a review ofyour business activities and business and sales records, which show that you are
engaged in the slaughter, processing, sale and transportation of uninspected meat and poulhy
products in violation of Federal law (21 U.S.C. $$ 610,458).

This Notice of Waming provides you witl information on the documented violations, the
relevant statutory and regulatory requirements, and the enforcement actions that the Agency may
take for future violations. This written notice also provides you with infomration on the actions
Miller's can take to bring its food operations into compliance with the FMIA and the PPIA.

Statulory and Requlatory Requirement s

The Food Safety and Inspection Sewice (F.SIS) is the public health agency in the U.S.
Depanmert of Agriculnue (USDA) responsible for ensuring that meat, poultry, and egg products
are safe, wholesome, and correctly labeled and packaged. lt is tie mission ofFSIS to protect the
consuming public from meat poultry, and egg products that are adulterated- misbranded- or
otherwise in violation of the law and to take action to protect the public health.

FSIS enforces, among other laws, the FMIA (21 U.S.C. $$ 601 et. EqJ, the PPIA (21 U.S.C. S$
451 et seq.), and the regulations issucd under these statues. 'I'hese laws generally require Federal
inspection forthe slaughter of livestock and poultry and for the preparation of meat and poultry
products for sale and dishibution in interstate commerce. 9 C.F.R. 302.1 and 381.6 require
inspection of every establishment slaughtering meat or poultry, or preparing meat or poulEy
products for human consumption, unless specifically exempted by 9 C.F.R. 303.I andlor 381 .10.

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These requirements also apply to transactions wholly within the designarcd state of Pennsylvania
(21 U.S.C. $$ 661(c)(1) and a5(c)(1)).

The FMIA, PPIA, and regulations do provide limited exemptions fiom irspection requirements
tbr certain operations, such as for traditional and usual rctail operations, ard for the custom
slaughter and preparation oflivestock, carcasses, parts, and meat and poultry products.
However, these exemptions are limited and must be conducted in compliance with statutory and
regulatory requirements. Firms operating under an exemption mrrst ensue that products
preparcd, sol{ and distributed are not adulterated or misbrsnded and must comply with other
specific requirements, dependent on the exemption, such as those related to the amormt and type
of pmducts that may be sold, limitations regarding the sale of products directly to consumers,
and requirements for sanitation standards, rccordkeeping, product packaging, and labeling. See,
2l U.S.C. $$ 454,623,661;9 C.F.R 303.1,381.10, and 416.1 through 416.6.

Prior Regulatory Activities and Enforcement Aclions

As you know, FSIS initiated an inquiry in March 2016 to determine whether Miller's was
operating in compliance widr FSIS statutes and regulations. That inquiry included, pursuart to
FSIS laws, reviewing your facility, operations, and records related o your food transactions.
After seeking voluntary compliance, execution of our responsibilities proceeded to enforcemenl
proceedings, initiated throqh the Uniled States Attomey's Offrce, Eastem Disrict of
Pennsylvania, to enforce our authority to examine your facility and operations, and obtain and
review business records.

I n,- e s I i o a t iv e.F in d in e s

Our investigation shows that Miller's is engaged in the slaughter, preparation, sale, and transport
of uninspected meaf and poultry products to various retail customers in interstate and intrastate
corunerce. Specifically, FSIS found coolers; freezers; the smokehouse; and equipmen! such as
assorted knifes, air compressor, electric band saw, hand meat saw, meat clever, meat hooks,
cutting boards, stainless steel tables, packaging equipment and labeling equipment, and other
tools that are used by individuals in fte c{nduct ofslaughtering and processing operations.
Agency officials also observed and photographed non-federally inspected meat and poultry
products bearing the Miller's Organic Farms label. Investigators obtained information showing
that non-exempt meat and poultry products were non-federally inspected and sold to various
retqil customers. ln addition, investigators found that Miller's olso sold and shipped non-
federally inspected products to other retail customers acmss state lines- Sale, transportation, and
offering for sale or transportatiorl ofnon-exempt meat and poultry for human consumption is
prohibited by federal law under the FMIA, 2l U.S.C. $ 610, and PPIA, 2l U.S.C. $ 458.

C o mpl ianc e Informal i on


Miller's needs to take action to bring its food operations into compliance with FSIS laws and
regulations. To achieve compliance, Miller's may apply for and obtain a grant ofFederal
inspection service, conduct retail and./or cuslom operations under the exemptions from inspection




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as   provided in the statutes and regulations, and/or cease any activities involving FSlS-regulated
products.

Federal Inspection

You could choose to apply for operations under Federal inspection. Federal establishmenrs may
slaughter, preparc, process, and sell meat and/or poulFy products for distribution. Federal
establishments must demonstrate the ability to meet certain rcquirements for producing safe,
wholesome, and properly labeled pmducs. These requirements, among others, include meeting
sanitation, facility, and operational standards and having required food safety programs,
including Hazard Analysis and Critical Control Points, Recall and Sanitation Standard Operating
Procedures in place that ensure tlat production of safe, unadulterated and properly labeled meat
and poultry products. See, 21 U.S.C. $$ 456,45t,608, and 621; 9 C.F.R. Pads 416, 417 ard 418.
FSIS inspection officials inspect, verifu, and enforce FSIS sanitation and other requirements at
establishments that operate under a grant of Federal inspection.

For information on how to apply for a grant of inspection, you may contact the Oftice of Field
Operations, Philadelphia District Office at (215) 5974219. You may also access the FSIS
website at httD:/iwrlrv.fsis.usda.so'i,'.

Eaemplions

As previously mentioned above, the FMIA, PPIA and associated regulations allow for a number
of exemptions from continuous meat and poultry irnpection. Regulations regarding exemptions
for meat and meat products are contained at 9 C.F.R. Part 303; and 9 C.F.R. 381.10 for pouhry
and poultry products. Perhaps your farm could operate undcr one or more of these exemptions,
such as the custom or retail exemptions explained below- Meat products that arc not specifically
prepared in compliance wilh an exemption are required to be inspected (9 CFR 302.1).

C stom

Custom slaughter and proc€ssing operations are required to meet certain statutory and regulatory
requirements to ensure that livestock and poultry are slaughtered and prepared under sanitary
conditions and dlat carcasses and products are not adulterated or misbranded. The FMIA
specifies that custom exempt prroducts must be labeled "Not for Sale," are for the exclusive use
ofthe owncr of the Iivcstock, and are not cligiblc for salc. 9 C.F.R. 303.1(b)(3) rcquircs thot thc
custom operator keep specific records, in addition to records required by Part 320, including a
record ofall livestock slaughtered" the products prepared from those livestock, and the names
and addrcsses of the owners of the liveslock and products. The PPIA contains similar provisions
for poultry and poultry products- See, 2l U.S.C. $$ 623, and a64; 9 C.F.R. Parts 303.1, l8 I .10,
381.175, and 416.1-416.6.

Retail Exemolion

You may choose to conduct retail operations. Retail operarions are subject to various
requirements, such as those related to the amount and types of products that may be sold, certain



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Iimitations regarding the sale ofproducts directly to consumers, and recordkeeping, pmduct
packaging, and labeling. lirms operating under the retail exemption also must maintain sanitary
conditions and emure that products preparc( sold, and distributed are not adulterated or
misbranded.

Moreover, preparation of product rmder the retail exemption in the designated state of
Pennsylvania is reskicted to meat derived from federally inspected and passed meat and meat
food product; and poultry and poultry derived from only federally inspected ard passed, or
exempted pou.ltry. See,2l U.S.C. $$ 454 and 661, and CFR Parts 303.1(d) and 381.10. Retail
operations are also subject to applicable Pennsylvania State laws.

For more irformation regarding retail exempt operations, you may contact the Compliance and
Investigations Division, Northeast Region at (215) 430-6222.

Non- FS IS Re eulate d Produc ts

You may choose to engage in business that does not involve meat or poultry products. ffis could
include operations related to receiving, storing, and preparing non-amenable species, such as
deer or other game animals. Non-amenable processing operations arc not subject to FSIS
statutory and regulatory requirements. Howevet such operations are subject to regulation by
other Federal or State cntities.

Enfo r ce me n t Activ i t ie s


The Agorcy takes violations of dre statutes and regulalions very seriously and strictly enforces
the inspection, exemption, and other requirements to ensure food safety and protect the public
health. To this effect, FSIS applies is authorities under the FMIA and the PPIA to control,
detain, and seize meat and poultry products that are adulterated, misbranded, non-federally
inspected, or not exempt fiom inspection (21 U.S.C. $$ 67a 672). FSIS a.lso initiates
enforcement actions and sanctions, consistent with its public health objeclives, for continued or
serious violations. In addition to waming lefters to seek compliance, the statutes provide for
criminal and civil sanctions, including injunctions to enforce and preveDt violations, a.nd criminal
prosecutioo. &e 2 I U.S.C. $$ 458, 46 l, 467c, 610, 67 4, ard' 67 6.

Follow-Up Activities

Complianc€ investigators wilI conducl follow-up activities at your facility to verify your
compliance with FSIS requirements. Pu$uart to the U.S. Dishict Court's order, FSIS will
conduct this follow-up activity no later than March 23, 2017. Please be advised that FSIS may
initiate action, including referral to the United Slates Attomey for initiation of criminal or civil
proce€dings, if the Agency determines that Millers continues to violate Agency requirements,
despite notice and opportunity to comply. Also, pleasc be advised that meat and poultry producs
found at the facility that are in violation of Agency requirements are subject to detention and
seizure.




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You are expected to voluntarily comply with all requirements of the FMIA and PPLA. Please do
not hesitate to contact Mr. Troy Hambright, Lead ComFliance Speciatist, at (202) 418-8890, if
you have any questions regarding this letter, the law, or available compliance options- In
addition, you may contact the FSIS Small Plant Help Desk, at I -E77 -37 4-7 4i5 ot
jri,osgliqelZ isis. lisda.gor , for additional regulatory information, technical assistance, and
guidance on how to operate in compliance with the FSIS laws and regulations.




                             Division
Oifice of Investigatiorl Enforccment and Audit




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USDA
            United Stales Depertnent of AgricutturE



Sent by Certified and by U.S.P.S. Mail

May 24,2017

Mr, Amos Miller
                                                                                             GOVERNMENI
Miller's Organic Farm                                                                     tI   EXHIBIT
64E Millcreek School Road
                                                                                          d
Bird-in-Hand, Pennsylvania r7505
                                                                                          t \^ ,\& r
NOTICE OF WARNING

Dear Mr. Miller:

On March I 6, 201 7, pusuant to an order of the U.S- District Court, investigators with the Food Satbry
and [nspection Servic€ (FSIS) visited your facility to evaluate your compliance with Agency laws and
regulations. Prior to this evaluation, FSIS advised you, in a written Notice of waming, dated f-ebruary
 10, 20 t7, that your business, Miller's Organic Farm (Miller's), was engaged in operations in violation of
the Federal Meal lnspection Ac1 (FMIA) (21 U.S.C. $$ 601 et. s€o.), the Poultry Products lnspection Act
(PPIA) (21 US.C.$$458el.sco.),andregulations9C.F.R,302.l,303.land38l.6-3Sl.l0issuedunder
these laws. and provided you an opportunity to come into compliance. Despite this notice and
opportunity. ths March 16,2017, review ofyour facility, operations, and records found continucd
violations.

Accordingly, this Notice of Waming provides you with information regarding the Agency's March 16,
201 7. findings, why Mi ller's operations are in violation of FSIS requirements, thc actions Mil ler's can
take 10 come into compiiance, and Agency rcsources availabl€ to assist you in this process- This Norice of
Wanring also provides informatioo on enforcement actions available to FSIS should Miller's continue lo
violate FSIS laws and regulalions.

Findinqs from lVtarsh 16,201?

On March 16, 2017, the FSIS agency olficials met with you and conducted a follow-up review of Miller's
lhcility, operations, and records to determine if Miller's had mad€ any chasges to its operations to correct
the non-compliance items previously discussed witi you and identified in our February 10,2017, Notice
of Waming-

During the r€view, Agency ofiicials again observed and photographed non-federally inspected meat and
meat food products and poultry products in the coolers and fie.ezerc bearing the Miller's Organic label,
FSIS also obscrved several hog carcasses hanging in the cooler. None oftic meat and meat food products
were identified 'Not for Sale" or bore federal marks of inspe€tion. None of the poultDr products bo.€
marks offederal inspection or any other specific labeling information Agency officials also observed a
ne,,r cooler/freezer recently installed. This fieezrr contained an indeterminate amount ofmeat. meat food
products 8nd poultry products in boxes stacked on wooden palles fiom floor to ceiling. None ofthose
meat and meat food products was marked'Not for Sale" or bore federal marks ofinspection. Nonc ofthc
poultry products bore marks of federal inspection or any other specific labeling information. When
Agency officials asked you questions about thes€ products during lhe review. you acknowledged that you

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                                       Enlorc€mcnt end UtlgEtlon Dlvlslon
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have continued to sell and ship these non<xempt and non-fedemlly inspected mest and meat food
products, and poultry products to your customerJmembers in the designated state of Pennsylvania and
across state lines- These observatioDs and the information you shared clearly shows you have not changed
your business practices and continue to slaughter, proccss, offer for sale and transpofialion, transport and
sell meat and meat food products, and poultry producs in commerce that have not bern inspected and
passed by USDA or otherwise slaughtered and prepared in accordance with any ofthe e-\emptions
afforded by the FMIA or PP[A.

Agency officials again discussed with you that the sale, transportation, and offering for salc meat and
meat food products, and poult-y or poultry products, for human consumption which are required to be
inspected unless exempted fiom the inspeclion requirements in commerce is prohibited by federal law
under the Federal Mest Inspection Acl (FMLA), 2l U.S.C. $610, and the Poultry Products Inspection Act
(PPI A), 2l U -S-C. $458- Agency oflicials expressed the importance for you to take action to change your
current operations and refened you to the possible business options op€n to Millsr's &s not€d in our
Notice of Waming and other information previously provided you. These options included: applying for
a grant of Federal lnspection service, conducting rctail and/or custom operations und€r lte exemptions
fiom insp€ction, coasing any activities involving FSIS-rcgulated prcducts, or conducting other business
activities in compliaflce with applicable State and Federal laws. You ackDowledged reading the Notice of
Waming, but stated that the notice did not offer any solutions b€cause your customerJmembers do not
want their producLs to be inspected.

At the conclusion ofthe revieq agency officiats met with you a.od your staffto answer additional
qucstioN to assist you in achieving compliance going forward. A group of approximately I 5 employecs
gatherEd in the offic€ area and agency ofiicials asked ifanyone had any questions and if there was
sonrething you or your employees did not undeEtand. FSIS officials were hsppy to again provide
clarification and./or answer any questions. Several questions were asked rclated to custom slaughter,
federal inspc.ction and retail sales, and one employee asked if he could get information on what could be
done to obtain compliaDce. Agency officials provided the cmployee with a copy ofthe Notic€ of
Warning, and told you and the employe.€ that upon retum to their office, they would contact the
Philadelphia District Ofiic€ and 8sk that office to provide you with a packet of infornation on applying
for a grant ofFcderal inspection service. Subseque[tly, the Philadelphia District Oflice was contacted.
and on or about Msrch 17,2017, that oftice provided you a packet of information for applying for a grant
of Federal inspection sewica. This packet also included the Philadelphia Distlict's contacl information.

Fedeml lnspection S€rvices

As we have previously advised, you could choose to apply for operations under Federal inspection. Once
issued a grant of Federal inspeclion, eslablishmens may slaughter, prepare, process, and s€ll meat and/or
poultry products for distribution. Federally inspected establishments must demonst-ate the ability to meet
certain requircments for producing safe, wholesome, and properly labeled producs. These rcquirements.
among otherst include meeting sanitation, facility, and operational standards and having required food
safery programs, including Hazard Analysis and Critical Control Points Recall and Sanitation Standard
Operating Procedures in place that eosure the production ofsafe, unadulterated and properly labeled mear
and poultry products. See,2l U.S.C-$$456,45E,608,and621;9C.F.R.Parrs4l6.4l7and4lE.FSIS
inspection officials inspect, veriry, and cnforce FSIS sanitation and other rcquirements at establishments
that operate under a grant of Federal inspection.

F'or information on how to apply for a gmnt ofinspection, you may contact the Office of Field
Operations, Philadelphia District Ofrice at (215) 597-4219.You may also accoss the FSIS website at
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Exe11p491;

As mentioned in prior correspondenc€ and discussions with you, the ITMIA. PPIA and associated
regulalions allow for a numhr ofcxemptions from continuous mear and poulu'y inspection. Regulations
regarding exemptions for meat and meat products are contained at 9 C.F.R. Pan 303: and 9 C.F.R. lt L l0
for poultry and poulky products- To achieve compliance, you could assess and dctermine if Miller's could
operate urder one or more of these exemptions, such as the custom or retail exemptions explained below.
iv'leat and poulFy pmducts that are not sp€cifically prepared in complianc€ with an exemptior are
required to be inspect€d (9 CFR 302.1,3E1.6).

Cuttom

Custom slaughter and proccssing operations are required to meet certain statutory and regulator)'
requirements to ensure that livestock and poultry are slauShtered and prepared under sanitary conditions
and that carcasses and products are not adulteratcd or misbranded. The FMLA specifies that custom
exempt producls mus be labeled 'Not for Sale," are for the exclusive use of the owner, of the livestock,
and members of his or her household, and are not eligible for sale. 9 C.F.R. 303.1(bX3) requires that the
custom operator keep specific records, in addition to rccords required by Pafi 120, including a record of
all livestock slaughtered, the products prepared from those livestock, and the names and addresses ofthe
owners ofthe livestock and products. The PPIA cootains the exemption provisions for poultry and poultry
producrs. See, 2l U.S.C. $$ 623, and 464; 9 C.F.R. Parts 303.1, 3t I . t0, 3t L 175, and 416.1-416.6.

Retail Etemptioa

You may choosc to conduct retail operations. Relail operations are subject to various re4uirements, such
as those related to the amount and t,?es of products that may be sold, certain limitations re8ardinB the
sale ofproducts directly to consumers, and recordkeeping product packagin& and labeling. Firms
operating under the relail exemption also must maintain sanitary conditions and ensure that products
prepared, sold, and distributed are not adulteratcd or misbranded.

Moreover, preparation of product under the retail exemption in the designated state of Pennsylvania is
restricted to meat derived from federally in$ected and passed meat and m€at food producg and poultry
and poulu'y derived from only fedenlly inspecrcd and passed. or €xempted poultry. See, 2l U.S.C. $$
454 and 661, and CFR Parts 303.1(d) and 381.10. Retail operations are also subject to applhable
Pennsylvania State laws,

For more info.mation regarding retail or custom exempt operations, you may contact the Compliance and
lnvestigations Division, Northeast Region at (215) 43G5222-

N o n - t- S I S R9g4!at   ed P   r o<1uc t s


You may choose to e[gage in a business that does not inyolve meat or poultry products. This could
include operations related to receiving, storiog, and prepaling non-amenable species, such as deer or other
game animals. Non-amenable processing opcrations arc not subject to FSIS slatutory and r€gul8tory
requirements. Ilowever, such operations ar€ subjecl to reSulation by other Federal or Slate entities.

Enforceme, AcliviIiei

The Agency takes violations ofthe statutes and regulations yery seriously and strictly enforces the
inspeatio[, exemption, and other requircments to ensure food safety and Eotect the public heaith. To this
effcct, FSIS applies its authorities undcr the FMIA and the PPIA to control, delain, and seize meat and



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poultry producls that arc adulterated, misbranded, non-federally inspected, or not exempt from ilspection
(21 U.S.C. $$ 467a, 672). FSIS also initiates enforrement actions and sanctions, consistent with its public
health objertives, for continued or serious violations. ln addition to waming letters to seck compliance,
the statutes provide for criminal and civil sanctions, including injunctions to enforce and prevent
violations, and criminal prosecution. See, 2l U.S.C. $$ 458, 461,467c,610,674, ar'd 676.

Follo$-Up Activities

Compliance investigators will conduct future follow-up activities at Miller's to verift your compliance
\.vith FSIS requirements. Please b€ advis€d that FSIS may initiate action, including referral tothe United
States Anomey for initiation ofcriminal or civil proceedings, if 0re Agency determines that Miller's
conlinues to violate Agency requirements, dcspite notice and oPportunity to comply. Also, ple.asc be
advised that meat and poultry products found at the facility. or elsewhcre in commerce thal are in
violation ofAgency requirement5 are subject to detention and seizue.

We hope that your awareness ofFSIS re4uiremens and the informatioD agency officials have sharod with
you over the past months, aod in this letter, u,ill result in your compliance going forward, To assist you
further in your complianc€ efforts, please do not hesitate to contact Mr. Troy Hambright, Lead SPccialist,
of my office at (202) 4lt-8890 with any questions you have r€garding this letter, Agency requiremen6, or
the available compliance options outlined for you. ln addition to the other contact information sel out for
you in this letter, you may contact the FSIS Small Plant Help D€sk,8l l-E77-374-7435 or
  :1.,..!,-aji.:1:r-!,t:t.:::: g-o1 for assistance.


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Scott C- Safian, Director
Enforcemcnt and Litigation Division
Ofice of Investigation, Enforcement   and Audit




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                                                                                               July   26, ZOLT




Hi Mr. Miller

I hop€                               quick note to touch base and provide you with another copy of
         you're doing well today. Just   a

the enclosed letter dated May 24, 2017. As I mentioned during our phone conversation on June 28,
2017, our office previously sent this letter by United States Postal Service and by certified mail but it
s€ems the certified copy was lost. We attempted sendin8 you a second certified copy on or about June
24,2077,lhet cerlified copy was recently returned to our office with "refused" written across the
envelope.

As we discussed during our call, l'm available   to answer any questions you miSht have about the letter
or the second application for inspestion packet the Philadelphia District C}ffice provided you on or about
lude 27,2017. Please let me know if anything else I can do to assist you including setting-up a
conference call for you with the Philadelphia District   ffice to discuss any questions you miBht   have
regardinB the application for inspection process.

You can reach me at my desk phone (202) 418-8890. lf I miss your call simply leave messate and I will
get back with you as soon as possible.




Sincerely,
                                                                                            GOVERNMENI
                                                                                              EXHIBIT
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                             DECLARATION OF PAUL FLANAGAN

          I, Paul Flanagan, under 28 U.S.C. $ 1746, declare:

          l.     I am   a Compliance Investigator   with the Compliance and Investigations Division,

Office of Investigation, Enforcement and Audit, Food Safety and Inspection Service (FSIS.1.

FSIS is a public health agency within the United States Department of Agriculture (USDA). I

have been a USDA-FSIS employee since July 1992. and have held my current position since

October 2004. Currently, I am assigned to FSIS' Philadelphia Compliance Sub-Office, Northeast

Region.

       2.        This declaration supports the United States'April 2019 civil Complaint for

permanent injunctive relief in the United States District Court for the Eastem District          of

Pennsylvania. That action seeks to require Amos Miller and Miller's Organic Farm (collectively,

"Miller's"):   (a) to cease endangering the public health and safety, including through commercial

sales of misbranded and non-federally-inspected meat food and poultry products; and (b) to

comply with the Federal Meat Inspection Act,        2l U.S.C. $ 601, et seq. (the "Meat Act"       or

"FMIA'), the Poultry Products Inspection Act,       21 U.S.C. $ 451, et seq. (the "Poultry      Act" or

"PPIA'), and related regulations.

       3.        I base this declaration on: (a) my personal krowledge; (b) information that I

received orally or in writing during the course of my investigation of Miller's between early

2016 and present; (c) Amos Miller's testimony at a June 28,2016 show cause hearing; and

(d) my experience (and facts leamed) as an FSIS Investigator.

       4.        My responsibilities   as an FSIS investigator   include surveilling   -   for chemical,

biological, or physical abuse, and for FMIA and PPIA compliance          -   the transportation, storage,

and distribution of meat, meat food products, poultry, and poultry products. I do this to ensure



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that these products are: (a) safe; (b) unadulterated; (c) stored in a sanitary environmenti and

(d) not misbranded   -   that is, marked, labeled, and packaged in accordance with law.

        5.      My official duties include conducting periodic in-person "verification reviews" of

meat and poultry facilities. These aim to assess compliance with sanitation, facility,

recordkeeping, labeling, and other requirements under the FMIA, PPIA, and related regulations.

I conduct these at a variety offacilities, including "custom-exempt" facilities, warehouses,

distribution centers, retail stores, and other facilities that slaughter livestock and/or haadle, store,

or distribute meat food and poultry products. Under the FMIA and PPIA, custom-exempt

facilities have a limited exemption from daily federal inspection requirements for "custom"

slaughtering and preparing oflivestock, poultry, carcasses, parts, and meat food and poultry

products. Although custom-exempt facilities are exempt from daily inspection requirements, they

must nevertheless strictly comply with sanitation, facility, recordkeeping, packaging, labeling,

and certain other requirements aimed at ensuring that meat food and poultry products are not

adulterated or misbranded.

        6.      Based on my investigation of    Miller's to date, and also based in part on Amos

Miller's testimony at a June 28,2016 show cause hearing in Uniled States v. Miller's Organic

Farm and Amos Miller,U.S. District Court, E.D. Pa. No. 16-cv-2732 (Transcript of June 28,

2016 Proceedings, at pages 6-7), I believe and understand that:

                a.        Amos Miller owns, operates, and resides at Miller's Organic Farm, which

is also known as Amos      Miller Organic Farm and is located at 648 Millcreek School Road, Bird-

in-Hand, Lancaster County, Pennsylvania 17505;

                b.        Miller's is an unincorporated association (Pennsylvania Filing No.

4181485) that chooses to describe itselfas a "private membership association" (see, for example,



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Miller's description of itself on its commercial websites,        at https://www.millersorqanicfarm.com

and http s ://www.amosmillerorsanicfarm.corrl/ .l

                    c.       Miller's Organic Farm files its tax retums under Amos Miller's name;

                    d.       Amos Miller is responsible for, and has authority over, all of the meat and

poultry operations at Miller's Organic Farm;

                    e.       Through the farm's on-site retail store, Miller's sells meat, poultry, meat

food products, and poultry products (among other products) both: (i) to its members who visit the

store in-person; and       (ii) to remote purchasers, who place orders by telephone, email, and/or

Miller's web site;

                    f.       Miller'sshipstelephone-ordered,email-ordered,andintemet-ordered

meat. poultry, meat food products, and poultry products either directly to purchasers (including

by FedEx or UPS) or to multiple pick-up locations throughout the United States; and

                    g.       Miller's is thus slaughtering, processing, storing, offering for sale, selling,

offering for transportation, and transporting, throughout the United States, meat, poultry, meat

food products, and poultry products that require federal inspection under the FMIA and PPIA.

        See   generally Miller's Organic Farm's web page, at httos ://www.millersorsaniclarm

com-/, as   well   as   Exhibit "1" hereto, which contains an April   1, 2019   print-out of Miller's March

2019 "Price List" and "Food Club" pages from that site.

        7.          There are meat and poultry establishments in the United States that operate

without FSIS knowing about their meat and poultry operations. Nonetheless, when FSIS leams



        I Miller's may be in the process ofchanging its website. For years, its website has been
www.MillersOrganicFarm.com. I first saw Miller's apparently new website, www.amosmiller
orgaaicfarm.com, on January 29,2019.11 is unclear whether Miller's is transitioning to the new
website (and to a name change ftom Miller's Organic Farm to Amos Miller Organic Farm), or
will maintain two separate websites.
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that an establishment is engaged in such operations, FSIS investigates the establishment to

determine whether and how the FMIA and PPIA require the operations to be USDA,/FSIS-

regulated.

       8.        Meat and poultry facilities in Pennsylvania that FSIS is aware ofand that are

similar to Miller's (including establishments that appear to be Amish-owned or Memonite-

owned) operate in accordance with USDA/FSIS regulations.

       9.        In early 2016, FSIS first received second-hand information that Miller's was         -
without the benefit of federal inspection   -   slaughtering, processing, and selling meat, meat food

products, poultry, and poultry products. A fellow FSIS investigator and I then visited Miller's in

an attempt to surveil its meat-related and poultry-related facilities and business records to

determine whether that information was accurate. But Mr. Miller told us that he was denying us

access and that we should retum only    with a

        10.      As a result, the FSIS Administrator     -   in early April 2016, and as authorized under

the FMIA and PPIA     -   issued a subpoena duces tecum requiring       Miller's to allow FSIS to   access

the farm's meat-related and poultry-related: (a) facilities; and (b) post-January      l, 2016 business

records. When    I served the subpoena on Mr. Miller, he still refused to permit     us access.


        1   l.   In late May 2016, Mr. Miller sent me a "Membership Contract" for Miller's

Organic Farm's membership association, which I attach hereto as Exhibit "2." The contract

requires members to pay a S35 lifetime membership fee and to sign an agleement that states:

                 a.       "We proclaim the freedom to choose and decide for owselves the types of

products, services and methods that we think best for healthy eating and preventing illness and

disease of our minds and bodies and for achieving and maintaining optimum wellness."




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                 b.     "[T]he Association specializes in raw milk products and grass-fed meats

and demands access to foods      ofour choice."

                 c.     "I   understand that the fellow members   ofthe Association that provide

products and services, do so in the capacity ofa fellow member and not in the capacity       ofa

licensed wholesaler, retailer or provider. I further understand that within the association no

wholesale/retailer-customer relationship exists but only a contract member-Association

relationship. In addition, I have freely chosen to change my legal status as a public consumer/

customer to a private member of the Association. I Iirther understand that it is entirely my own

responsibility to consider the recommendations and product offered to me by my fellow

members and to educate myself as to the effrcacy, risks, and desirability of same and the

acceptance of the offered or recommended products and         it is my own carefully considered

decision."

                 d.     "The Trustee and members have chosen Amos Miller as the person best

qualified to perform services to members ofthe Association and entrust them to select other

members to assist them in carrying out the service."

                 e.     "ln addition, I understand that,   since the Association is protected by the

1st and   l4th Amendments to the U.S. Constitution, it is outside the jurisdiction and authority of

Federal and State Agencies and Authorities conceming any and all complaints or grievances

against the Association, any Trustee(s), members or other staffpersons.      All rights of complaint

or grievances will be settled by an Association Committee[.]"

                 f.     "My activities within the Association are a private matter that I refuse to

share   with State Medical Board(s), the FDA, FTC, State Milk Board(s), USDA, Agriculture




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Board(s) and any other govemmental agency without my expressed specific permission.            All

records and documents remain as property ofthe Association, even        ifl   receive a copy of them."

                g.      "l affirm that I do not represent   any State or Federal agency whose

purpose is to regulate and approve products."

        12.     Mr. Miller told me on several occasions that he would not permit me to review his

facilities and records without my first signing that contract, even though its terms would require

that I inaccurately "affirm that I do not represent any . . . Federal agency whose purpose is to

regulate and approve products."

        13.     On June 3, 2016, in the United States District Court for the Eastem District     of

Pennsylvania, the United States filed a complaint to enforce FSIS' April 2016 subpoena. See

United States v. Miller's Organic Farm and Amos Miller,EDPANo. 16-cv-2732, Docket Entry

No. l. Later that month, following   a hearing at   which I testified, the Honorable Edward G. Smith

enforced the subpoena and required Miller's to allow FSIS to access the farm's meat-and-

poultry-related facilities and records. Id. , Dkt. Entry No. 7.

        14.     As permitted under the Court's enforcement order, in mid-July 2016 a fellow

FSIS investigator and I attempted to begin inspecting Miller's. Although Mr. Miller was

uncooperative, we were able to observe boxed and plastic-wrapped meat food products that were

labeled "Miller's Organic Farm Private Membership Association." None of those boxes and

none ofthe wrappings or labels bore either federal marks of inspection (which are required for

federally inspected meat and poultry) or "Not for Sale" labeling (which is required for meat and

poultry that is exempt from federal inspection requirements). We also observed beef and hog

carcasses that: (a) were not identified as   "Not for Sale"; and (b) did not bear federal marks of

inspection. Finally, we saw: (a) unlabeled boxes ofchickens and plastic-wrapped chickens that



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did not bear federal marks ofinspection or other labeling required for exempt poultry; and

(b) what appeared to be smoked pork products that did not bear federal marks of inspection or

other labeling required for exempt meat.

        15.      In the course ofmy FSIS duties, I investigate whether establishments' meat and

poultry products are misbranded under the FMIA and PPIA.

        16.      Here, all of Miller's observed products were plainly misbranded under the FMIA

or PPIA because: (a) ifthey were intended for commercial sale, they required (but did not have)

federal marks of inspection (following actual federal inspection), as well as other required

labeling; and (b) ifthey were not intended for commercial sale, they required (but did not have)

"not for sale" labeling. So, in order to   assess the extent   of Miller's need for federal inspection,

and the appropriate labeling for   Miller's specific products, FSIS next needed to evaluate the

extent of Miller's commercial sales of meat and poultry products, although it was already

appfient to me that Miller's was selling its meat and poultry in commerce.

        17   .   A week after making those mid-July observations, my fellow FSIS investigator

and I retumed to the farm. On that occasion, Mr.         Miller allowed me to copy   a spiral notebook

entitled "Butcher 2015." The book contained: (a) a record ofdates that livestock/poultry were

slaughtered at the farm; (b) the species ofeach slaughtered animal; (c) the name         ofthe farm from

which each animal originated; (d) a total number ofanimals/chickens slaughtered on each date;

and (e) posrslaughter carcass weights. Mr.      Miller told me that he sells meat and poultry that is

slaughtered at his farm only to members      ofhis private membership association. He also stated

that the association owns   Miller's   sales records and that he would not invade the association's

privacy rights by producing the records to FSIS.




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         18.    During that visit, I explained to Mr. Miller that, based on my observations and

review, I had concluded that Miller's meat food and poultry products that were being offered for

sale to his private association members: (a) were not being federally inspected, as required under

the   FMIA and PPIA; and (b) were apparently being sold to consumers notjust in Pennsylvania

but also in other states. I further explained that Mr. Miller could correct FMIA and PPIA

violations by either: (a) taking his livestock to a federal establishment, to have the animals

slaughtered, processed, and packaged with federal marks of inspection; or (b) opening a federal

establishment on his farm. FSIS has since reiterated these conclusions and this information to

Mr. Miller on multiple occasions.

         19.    In late July 2016, I retumed to Miller's Organic Farm with a fellow FSIS

investigator. On that occasion, Mr. Miller told me that Miller's private association members can

place orders for Miller's products (for which they pay by check or in cash) in several ways:

(a) by coming directly to the farm to make purchases; (b) by telephoning Miller's and placing an

order for later pick-up at the farm or for delivery by FedEx or UPS to the member's residence; or

(c) through one of several association-member-organized, private "Cooperatives" (also known as

"Co-ops"), including in such out-of-state locations as Miami, Florida. According to Mr. Miller,

although member-customers were (at least at that time) unable to place orders directly through

Miller's intemet site,   a member could place an order   with and through one of those Co-ops. The

Co-op would then submit a group of intemet orders (for example, by email) to Mr. Miller's

neighbor, whom Mr. Miller paid to operate Miller's website. The neighbor would then hand-

deliver the orders to Mr. Miller for fulfillment. Miller's would then arrange for the ordered

products to be delivered to the Co-op, the Co-op would typically mail ordering members'

payment checks to Miller's, and an ordering member would pick the products up at the Co-op or



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at a location the Co-op specified. (Mr.    Miller was unwilling to clarifr whether he uses a private

carrier, FedEx, and/or UPS to transport products to Co-ops.)

          20.    After back-and-forth discussions with Mr. Miller about whether he would produce

Miller's   sales invoices for meat, meat food products, poultry, and poultry products for even   just a

three-month period between Janvry 2016 and June 2016, Mr. Miller, in early August 2016,

stated that he was   unwilling to produce any sales records/invoices that included   a member-


customer's name, address, city, or even state ofresidence.

          21.    The Office of the United States Attomey for the Eastem District of Pennsylvania

then wrote to Mr. Miller on August 9, 2016, stating:

                 To avoid the need for [a show cause motion in the subpoena
                 enforcement action], we are providing you until this Friday
                 moming . . . to call Investigator Flanagan and anange a time . . .
                 when you will produce the requested records. Moreover, to
                 provide you with further assurance that FSIS is not seeking the
                 records in order to identiff your members, but rather merely (as
                 Investigator Flanagan explained to you yesterday) to corroborate
                 the interstate aspect ofyour sales of meat and poultry products, the
                 produced records can redact name, address, and city information
                 but must include all other (including state) information.

,See   Exhibit "3" hereto (letter from U.S. Attomey's Office to Miller).

          22.    Under a November 1, 2016 Consent Order in the subpoena enforcement action,

Miller's agreed that: (a) by late December 2016, and in order to avoid a non-compliance penalty,

it would complete    a   rolling production of certain redacted meat-and-poultry-related sales

invoices for three calendar months of 2016; (b) within 90 days after the end of that production,

FSIS could retum to the farm to assess whether Miller's had cured FSlS-determined/noticed

violations; and (c) within ten days following FSIS' retum visit, the United States would file a

case-closing report.




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        23.       FSIS then reviewed approximately 2,862 invoices (all dated between July and

September 2016) that     Miller's produced under the Consent Order. I led that review. From      these

invoices, FSIS determined that, during just the three-month period, Miller's sold in commerce

(much of it interstate): (a) approximately 9,015 pounds ofred meat food products, for

$85,062.00; and (b) approximately 5,085 pounds of poultry products, for $39,050.00.

        24.       On February 10,2017, FSIS sent Amos     Miller and Miller's Organic Farm      a

Notice of Waming, advising them that FSIS' review showed that        -   consistent with my

observations Miller's was engaging in operations that the FMIA and PPIA prohibit. Those

operations included slaughtering, processing, selling in co[rmerce, and transporting in commerce

meat, meat food products, poultry, and poultry products that were not federally inspected.

        25.       Consistent with the information that I had given to Mr. Miller over the preceding

months, the Notice of Waming outlined the statutory requirements and violations and what

Miller's needed to do to bring its operations into compliance. Specifically, the Notice     stated that

Miller's needed to: (a) apply for and obtain   a grant ofFederal inspection service; (b) for any

retail and/or custom meat/poultry operations that might qualifo for an FMIA or PPIA exemption

(though FSIS observed none that would qualify), conduct those operations consistent with

exemption requirements; and/or (c) pending compliance, cease any activities involving FSIS-

regulated meat, meat food products, poultry, and poultry products. See Exhibit      "l"   to Declaration

of Troy Hambright (Feb. 2017 Notice of Waming), which supports the United States' Complaint

in this action.

        26.       On March 16,2017, two FSIS investigators and I conducted a follow-up

inspection/compliance visit to Miller's Organic Farm.




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       27.     On May 24,2017, FSIS sent Amos           Miller and Miller's Organic Farm a second

Notice of Waming, advising Miller's that, during the March 16, 2017 visit, FSIS (consistent with

my findings and observations) found that FSlS-observed meat food and poultry products still

lacked identification either as'Not for Sale" or as federally inspected. These included: (a) "meat

and meat food products and poultry products in the coolers and freezers bearing the       Miller's

Organic label"; (b) hog carcasses hanging in a cooler; (c) poultry products; and (d) meat, meat

food products, and poultry products stacked floor-to-ceiling in a new cooler/fieezer. See Exhibit

"2" to Hambright Declaration (May 2017 Notice of Waming).

       28.     Plastic-wrapped meat, meat food products, poultry, and poultry products that I

observed during the March 16,2017 visit each had a label that merely identified the product and

stated its month and day (but not year) ofpacking, its net weight, its price-per-pound, its total

price, and one of the following: (a) "Miller's Organic Farm Private Membership Association";

(b) "Not for Public Sale"; or (c) "Not for Public Sale Private Membership Association."

(Emphasis added.) The only observed, wrapped products that lacked one ofthese three labeling

variations were beef frankfurters and beef& pork frankfurters that had been custom-processed at

Ebersole Custom Processing in Lebanon, Pennsylvania and that bore the Ebersole label, which

included the words "not for sale," but which were presumably (despite the "not for sale"

labeling) intended by Miller's for commercial sale to its association members.

       29.     The May 24, 2017 Notice of Warning added that, during the March 16 site visit,

Mr. Miller had "acknowledged that [he has] continued to sell and ship these non-exempt and

non-federally inspected meat and meat food products, and poultry products to [his]

customers/members    in.   . . Pennsylvania and across state lines." See Exhibit   "2" to Hambright

Declaration.



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         30.      On March 16,2017,1 had asked Mr.            Miller if he had considered using a federal

establishment to slaughter and process his livestock. He responded that he was told that

"Smucker's," which is a nearby establishment in Mt. Joy, Pennsylvania, has a one-year waiting

list to get animals slaughtered, which is why he still slaughters his own animals and processes

meat and poultry on his farm.     I attach    as   Exhibit "4" hereto pages from Smucker's website,

https://www.smuckersmeats.com/customized-processins.ohp,                which I downloaded on April    l,

2019, and on which Smucker's boasts that:

                  All ofthe  services and products that we offer are under the vigilant
                  eye of USDA inspectors. A USDA inspector is present whenever
                  any slaughter operations are conducted. The inspector's job is to
                  monitor and veriS that livestock are healthy when slaughtered,
                  handled humanely, and the finished carcasses are clean so as to
                  reduce the possibility of contamination. A second USDA inspector
                  monitors all other processes and while this inspector is not required
                  to be on site at all times, this individual is responsible for checking
                  and verifying all the records associated with the food safety
                  programs that we have established. USDA inspection is not a
                  license or certification, rather it is granted to plants that meet
                  federal requirements as long the plants adhere to the applicable
                  regulations.

         3l   .   I understand that   a new   Amish-owned federal establishment, Belmont Meats. will

soon open (or has recently opened) in Paradise, Pennsylvania, which is in Lancaster County, and

will   slaughter and process livestock and poultry. Belmont Meats passed final USDA inspection

on February 27,2019, and meat and poultry slaughtered and processed there will bear federal

marks of inspection.

         32.      The May 2017 Notice of Waming further stated that, during the March 201 7 visit

to the farm, FSIS again counseled and advised Mr. Miller (and I was among the officials who

gave him the counsel and advice) about the requirements that his meat and poultry and related

products be federally inspected, unless exempted fiom inspection, and further stated:



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                [FSIS] expressed the importance for you to take action to change
                your current operations and refened you to the possible business
                options open to Miller's as noted in our [February 2017] Notice of
                Waming and other information previously provided you. These
                options included: applying for a grant ofFederal inspection
                service, conducting retail and/or custom operations under the
                exemption from inspection, ceasing any activities involving FSIS-
                regulated products, or conducting other business activities in
                compliance with applicable State and Federal laws. You
                acknowledged reading the Notice of Waming, but stated that the
                notice did not offer any solutions because your customers/members
                do not want their products to be inspected.

See   Exhibit "2" to Hambright Declaration, at p.2-3 (also documenting how FSIS again explained

to Mr. Miller, in detail, ways for Miller's to apply for a grant of Federal inspection or try to

qualifo for an exemption).

          33.   During the March 2017 site visit, Mr. Miller added that the only way he would

change    Miller's operations to comply with the FMIA and PPIA would be if his members agreed

to the change. I responded that his business is in his name and that he is responsible for

regulatory compliance. I also held a question-and-answer session with approximately l5       of

Miller's employees. My answers included further explanations about federal inspection and

various exemption requirements, the processes for obtaining them, and some ofthe possible

impacts and effects offederal inspection on an establishment's operations.

          34.   FSIS waited several months for Miller's to respond to the May 2017 Notice of

Waming. By November 2017, Miller's had plainly failed meaningfully to do so. On November

14,2017, a fellow FSIS investigator and I therefore retumed to Miller's Organic Farm. Our goal

was to review facilities and records and to assess whether   Miller's, even though it had not

responded to the warning notices, had taken (or was at least beginning to take) meaningful steps

to address FSIS' serious concems. At that time, Mr. Miller stated to us (as previously) that,

because   Miller's is a "private membership association," it does not have to follow federal law.


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He also stated that, if we entered his facilities, we would be doing so at our "own risk" and that

he was not giving us permission to enter. We then served a new administrative subpoena duces

tecum on him that sought the access to facilities and documents that he was denying to us at that

time. To date, even over a year later, Miller's has not complied with or even responded to the

November 201 7 subpoena.

       35.     My observations and interactions with Mr. Miller show that Miller's        -   despite

FSIS having provided it with detailed written and oral wamings, explanations in layman's

language about how to come into compliance with the       FMIA and PPIA, offers of further

guidance and counsel, and abundant opportunity to cure cited violations      -   continues to ignore

and violate these laws by: (a) slaughtering and processing meat and poultry without federal

inspection; and (b) both within and outside ofPennsylvania, selling, offering for sale or

transportation, and transporting misbranded and non-federally-inspected meat, meat food

products, poultry, and poultry products.

       36.     Since my last interaction with Mr.     Miller in November 2017, I have continued to

monitor Miller's intemet presence. The contents of Miller's intemet sites support my

understanding ard findings that Miller's continues to sell non-federally-inspected, misbranded

meat lood and poultry products in commerce.

       37.     I have investigated scores of Pennsylvania meat and poultry establishments during

my FSIS tenure. In my experience, Miller's is the only such establishment (private membership

association or not) that has similarly persisted in: (a) not recognizing FSIS' authority to review

meat and poultry facilities and documents; (b) resisting FSIS' exercise of its authority to review

those facilities and documents; and (c) ignoring, despite oral and written wamings,       FMIA and

PPIA federal inspection requirements. My view is that Mr. Miller     -   following the 2016-2017



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subpoena enforcemcrt rction in this Court, and thc         Cout's Orden   and comments at hearings    -
cannot reasonably     tatc the positiou that he is rrrrsurarc that Miller's is subject to (ard must

comply with) the FMIA and PPIA.

       I deche, under pcodty of pcrjury undcr thc laws of thc Unitod Statcs of America, that

tlre forcgoing is true and conect to the bcst of my knowlodge.

E;rccuted on   this   /?   6t'1of egtit,ZOte,



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                                                  Compliance and Invcstiggtions Division
                                                  Officc of Invcstigation, Enforcement and Audit
                                                  Food Safcty ald lncpes{ion S€rt ice
                                                  Unitcd States Departrrcnt of Agriculturc




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                                                          Millefs OrganicFarm
                                                    A hirate Membership Association
                                                       648 Mill CreekSchool Rd.                                     a   @v ERNTIENT
                                                                        PA 17505
                                                              Bird-in-Hand,                                                   D(HIBTI

                                                              March 2019 Specrals
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                                         To receive specizls, please meffion llarch Specials.

51.00 off per pound or container:
         Daikon Radish Juicc
         Garlic Dill Pickles- pr & qt
         Fresh Sheep Milk - qt                                                   ln ventory Reduttion Blourc             at
         Frozen Sheep Milk       -[
                                 gal
         Eye Round Roast - frozen                                                  elt sofi 6u{fato   cfizeses (a oz.)
         Bread &Buttcr Pickles qt
         Cured- Salted- Sliced IIam Frozen
         Sirloin Tip lrozen
                                                                                   Eu                  t anz
         Buf[alo Yogurt - pt                                                      (rhtst ,rlztttlotl to recetve dlscotrt)
         Bull'alo Kellr- pt
         Curcd. Saltcd Ham Steak- frozen
         Sirloin Steak tozen
         Counrry Bacon      -   cured   & salled
         F'lank Steak - Frozen
         Frozen Chicken Legs       & Tlighs (musl   bu-'- 2   pk or more)
52.00 off per pound or container                                                   Water Buffalo Milk Special
         Frozen Chickcn Legs & Tlighs (must buy
         Buffalo  Milk qt & pt
                                                         l0 pk or more)
                                                                                      Gallon - $25.OO ($1O orl
         Buffalo Cream                                                                   Half Gallon . ${4.50 ($5 off)
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         Boneless Chicken Brcasts - froren (must bu)           .l lb or more)               Quart - $8.OO ($2 off)
55.00   off                                                                                  Pint - $4.OO ($2 off)
         Buflalo MiJk   -   half gallon
         Largc   & Small Veggie Boxes
$10.00   off
         Buffalo Milk
                - gallon
507o off per pound or container
         Frozen Goat Greek Yogun pt
         Buffalo cheeses - bulTet4 cheddar, deli dclighr,
                                                                                 Inventory Derluctlon
                hot iaclc cave-aged                                                    Blortout
NEW ITEMS
         Buffalo Jack Cheesc - $12.501 t/.lb                                    Frozen Chicken Legs & Thighs
         Sheep Colostrum - $22 00/p1
         Shccp Cottage Cheesc - $18.00/pt
         Fresh Sheep Cream - $14.00/8 oz
                                                                                        2-9pks-$4.75/lb
         Coosc Eggs - 51.5o/egg                                                     10 or more pks - $3.75/lb
         Dand) Blend Icc Cream - $ 12.00/q1
         Kimchee Jurce - $3.5o/pt                                                 (Must mention to receive discount)
         Buflirlo Marrorv Bones - $18.50/lb
         Buffalo Tenderloin - S30 50/lb
         BulTalo Ribeye - Sl8 50/lb
         Buflalo Nerv York Stcak - Sl8.50/lb
         Small Veggic Boxes - $35.00
         Large Veggie Boxes - S15 00                                               lnventory ReducUon Blowout
         Ground Goal - S12.00/lb
         Goat Cubes - SI6.00/lb                                                    Frozen Goat Greek Yogurt
         Goal Chops - $24.50/lb
         Goa( I{oast - Slt 50/lb
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PRICI] CtL4,}GE
         Beef Ribeyc Steak - Sl7 50/lb
         Reall! Ra\\ Honer - $12 75/16 oz- $39 75/5           Ib
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                                          March 2Ot9 Newsletter
To our Members,

First we want to thank God our Creator who made things so well. We are again so richly blessed with nutrient dense
foods. We had a bountiful harvest so ourfreezers and coolers are now stocked to supply your needs with meals full of
hea lthy nutrition.

We now have the option of sending your package with UPS. They have come forward with better rates, especiallyfor
yourlargerorders. lf youhaveapreferencewhichcarrieryou'dlike,pleasespecifywhenplacingyourorder, Forcertain
areas you should see a savings of 55 - $10 per order with UPS. For larger orders it could be more. Please note: for West
&Central Coastthetimeintransitforyourpackagecouldbeone(1) daylongerwithUPSgroundthanFedExground. lf
you don't specify which carrier, then we'll use our best judgment to fill your needs.

We now have goose eggs available. They are sold by the egg. The duck egBs should be plentiful again in April. When
ordering these, please specify'no substitutions' or'substitute with chicken eggs'.

Another thing that is quite seasonal is goat and sheep products, especially the cream and butter. The water buffalo
animal, however, is quite different from sheep and goats. Water buffalo are plentifully producing in the fall and winter
seasons, whereas sheep and goats are not. This is due to the nature of the animals mating seasonally. Our goalis to
work with nature as much as possible, and at the same time have a diversified nutrient-dense, fresh foods available year
round. When placing an order for sheep and goat products, please specify 'no substitutes' or'substitute with buffalo
products', otherwise we will call or use our best judgment. We thank you for understanding this situation and where we
are coming from.

It   is   the time of year when the flu bugs are flying around. We have a homemade tonic for the flu season. lt       is   called
Supertonic. lt       is sold in 4 oz. bottles.

We sell cod liver oil in 4 oz. bottles. The name is Rosita Cod Liver Oil.

We have a shortage of fresh and frozen camel milk, therefore we ask that you order one week in advance of when you
want the milk.

We now have soy-free whole goose and duck available.

Our veggie mix is available in pints.

We now have soy and corn free chicken available for people who are sensitive to corn and soy             - frozen only.
We are running an inventory reduction blowout on our frozen chicken legs & thighs. Receive S1.00/lboff if you
purchase 2-9 packs of chicken legs & thighs. Receive S2.00/lb off if you purchase 10 or more packs. (Must mention to
receive discount.)

Another inventory reduction blowout is on frozen goat 6reek yogurt          -   50% off while supplies last.

We sell various cuts of water buffalo meat, which is $2.00/lb more than beef.

We have plenty of buffalo cream, but we are running short on sheep and goat cream.

We are also busy baking fresh soaked, sprouted and sourdough breads. See our large variety available in the price list.
Also available are gluten-free muffins and 2 kinds of cookies. We also have 3 types of pies available - apple, shoofly and
veggie chicken pies.

We have 2 kinds of noodles available. The soaked noodles are yellow, and the sprouted noodles are brown.

The sweet potatoes are now in stock again.
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lf you want a delicious treat, try our black raspberry smoothies, cinnamon milk, chocolate milk or eggnog.

we sell 3 different kinds of chips - homemade Amos chips, sweet potato chips and Zerbe chips.

We are havinB a discount on water buffalo milk, cream, yogurt and kefir through the month of March. (See specials) The
camenbuff is now in stock again.

We have some A2A2 dairy products available for the dairy sensitive people. Ourgoal is to have all A2A2 da iry available
in the near future, hopefully in 2019. Please note that the buffalo dairy is automatic A2A2. lts genes never have
changed that we are aware of. The milk has a delicious sweet flavor to it. Don't fo rget to taste the buffalo milkegg
custard. lt's delicious as a desert or quick breaKast.

We now have lo1o/o A2A2 cream and butterfor 52.00 more than our regular dairy. (Please specify when ordering,) Our
regu la r dairy does have a large amount of A2A2, but still has a small amount ofA1A2. We made A2A2 available for the
people that are sensitive to A1A2 milk. There has been research done which shows that A2A2 milk is more beneficial
and nutrition could be enhanced.

We sell 2 different kinds of salt   -   herbal salt & celtic sea salt

FREE GIFT   for March   -   When you purchase $100 or more receive a half pound of ground buffalo (must mention to
receive).

Wenowsell frozen cold-pressed grapejuice in halfgallons. lt is not fermented. Westill have the fermented grape juice
available for our food coop orders, but for shipping with Fed Ex or UPS it is a challenge because of all the sizzling in the
bottle, due to the shaking bouncing ofthe box. Wecanstill ship with your ma il order, but then the risk would be you rs.
We'll trytoseal the best we can, but won't guarantee the best result in shipping. Asubstitute we have available would
be the cran-Brape water kefir.

A frequently asked question  - "Can lget a membership form and place an order online and pay with my credit card?" As
you may already know, Miller's Organic Farm does not have a computer on the farm, neither do we have a way set up
for vou to pay with your credit card at our farm. We'd prefer to do business the so-called old fashioned way, calling you r
order in by phone. You can leave a message with your name, address, phone number and your order, or call Monday
through Friday between 8:00 and 4:00. (Please note that between 11:30 and 12:30 we take offfor lunch.) We will try to
havesomeoneanswerthephoneifatall possible. When shipping by Fedex, UPS or Eastern Connection we usually put
an invoice in the box with your complete total including shipping and handling. Then when you get the package please
sendapersonal check by regular mail (payableto Miller's Organic Farm). My sayinB goes "lf you trust us for the food,
we trust you for the money". Let's worktogetherto keepthis statementvalid. We really, really appreciate your efforts
 in this matter. Together we can both succeed. We do have a food coop available in various areas. Most ofthem have a
food coordinator in their area. lnthatperspectiveyouwouldcontactthemandgivethemyourorderwithyourname
attachedto it, andtheygive usthefood orders. Then we put that shipment on a pallet with refrig€rated trucking. The
food coordinator then contacts you to let you know what time and where to meet to pick up your fresh food order. The
food coordinator collects the money and sends it to the farms going through the food coop. You can save on shipping
andhandling. lf you would like to know if we have a coop in your area or would like to start one in your area, feel free
to call us at the farm @ (117]l556-0572. Many of our food coordinators have a passion to get nutrient dense food out
into the next generations and that is certainly our goal here at Miller's Organic Farm. We do have a few food
coordinators that are especially interested in getting nutrient dense food to your door for people that live in more rural
areas that don't live close to any of our food coops. Theymade it availableforyourconveniencetosign a membership
form and order & pay online with your credit card. The websites are called M illersorganicfarm.com and
a mosm illerorganicfarm.com . You can choose from either one, but please note when ordering online if you have a

problem, you can still callthe farm directly at 717-556-0672 and please specify (online order) so we can find our current
file with your order to respond to your call quicker. Also note when ordering online, there is a 10% food order fee added
to your shipping and handling costs to help cover the third party website hosting expenses. We great ly appreciate your
understanding to this matter.
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Another frequently asked question is "What is the difference between l't and 2nd cow colostrum?" The first colostrum is
harvested within the first 6-24 hours after the cow gives birth to her calf. Some people have requested the first
colostrum before 6 hours. Ourgoal is to give the newborn an imal first cha nce. Thenwetakethebalanceofthe
colostrum for bottling. The 2nd colostrum is usually harvested within 24-48 hoursafterthe cow gave birth to hercalf.
After that the milk from the cow goes to regular milk. The first and second colostrum can vary in consistency & color
depending on the genetics and also the season of the year. We have a limited supply available of the sheep and goat
colostrum. lt is mostly available in the spring and summer. We do not keep 1't and 2nd colostrum separate like we do
the cow colostrum, rather we combine the milk. We usually save the first 2 days for colostrum afterthesheep and goat
give birth. For buffalo colostrum, we use about 4-5 days of colostrum milk rather than 12-48 hours like we do for cow
colostrum. The reason for this is that it was a challenge to use that milk to make cheese. We haven't figured out exactly
why except for the natural probiotics and special enzymes, proteins, etc. that colostrum milk might be competing with
the culture that we use for making cheese.

lf you have any questions, please give us a call @ l7L7l 556-0672.

Amos Miller & Staff
Mille/s Organic Farm
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                                                                                     Millers Organic Farm
                                                                               Private Membership Association

                           648 Mill Creek School Road, Bird-in-Hand, PA 17505 l7t7l556-0672
                                                      Leave message with order.
                         When placing an order, please allow 24-36 hrs. for shipping to avoid a rush order fee
                                            Prices are subiect to change without notice.

RAW COW'S MILK & DAIRY                                         Cheese spread - Ss.oo/aoz, 58.50/lb
Milk - S4.50/hf Cal, (S8.00/eal co-ops only)                   Eggnog - S6.50/qt
Milk in glass bottle - S7.00/hf gal w/ handle,                 Butter, no salt - 57;75/8o2,512.50/lb
    S11.00/cal no handle - co-ops only                         Butter, salted - S8.00/8o2, S13.00/lb
Cream, heavy in glass bottle - S8.50/pt, Su.sO/qt,             Butter, cultured, no salt- S8.50/8o2, S14.50/lb
   S28.s0/half gal                                             Butter, cultured, salted- S8.7518o2, S15.00/lb
Cream, heavy - $7.50/pt, S13.50/qt,                            Chocolate Milk - 56.50/ % gal., S12.00/cal.
   526.s0 / 3 % tb, (L 3 I 4 qt.l, S32.00/slb (2 L/2 qtl       Cinnamon Milk - S4.00/qt., 56.501 % gal.
cream, light in glass bottle - S7.50/pt, S13.00/qt,            Raspberry Yogu rt Smoothie-S6.00/pt
   S24.00/half gal                                             RAW HARD COW CHEESE
cream, light - S6.s0/pt, 572.OO/qt, S20.00/hf gal              (specify salted or no-salt)
Sour Cream - S8.00/pt, S14.50/qt                               Cheddar, Sharp Cheddar, -57.25 llb,
Crdme fraiche - S8.00/pt, S14.50/qt                               56.50/lb for 5-5 lb
Buttermilk - 52.00/quart                                       swiss, Monterey Jack, Herbal Jack ,- 50.lSllb or
Buttermilk, cultured - 52.50/quart                                              S6.00/lb for 5-6 lb block
Colostrum, first - S10.50/pt, S19.50/qt                        Farmers, Colby, Pepper Jack, Colby Dill(salted only)-
Colostrum, regular - S4.00/pt, S7.50/qt                                         56.751b or 55 for 5-5 lb block
whey - S2.00/qt ,52.7slhf Eal                                  Garlic Cheddar (salted only)-S7.25llb or S6.50/lb for
Mild kefir - S3.00/pt, S5.50/qt                                        5-6 lb block
Regular kefir (mixed mild-strone) - S3.00/pt,                  Mushroom Leek (salted only) - ,- S6.75llb or
   Ss.solqt                                                       S6.00/lb for 5-6 lb block
Strong kefir - $3.00/pt, 55.so/qt                              Havarti Cheese-S8.50/lb
Kefir grains - stronC S2.50/tsp, mild 56.50/tsp                Gouda Cow Cheese-(sa lted only)-S8.50/lb
Yogurt - S2.50/pt, S4.50/qt                                            (1 lb or 5 lb block)
Greek Style Cow Yogurt (plain, maple) - S5.00/pt,              Cow Blue Cheese (soft) ( salted only) -
   S8.so/qt                                                       S13.7slrb
Cottage cheese - w/o cream S4.00/pt,        d   cream          Smoked Cheddar (salted only) - S10.50/lb
   s4.s0/pt
Cottage Cheese in glass bottle - w/o cream
   Ss.so/pt, w/ cream S6.00/pt
Cream Cheese - 55.00/8o2, S9.00/lb
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              GRASSFED FARM FRESH FOODS                                                                              o   .s
                                                                                        Farm Store Hours                      dd 5
 Our cows are on a high forage diet and are fed no grain to                                                                          -s

 ensure a higher quality, more nourishing and better tasting
                                                                              Mon-Fri. 8:00 AM-4:30 PM EST
                            food.                                                   Saturday by appointment

Shipping options include FedEx Ground and FedEx Overnight. Handling charges are 58 - 516 per box, depending on size and
content (shippinB not included) When shipping eggs with FedEx, please add S1.00 per dozen eggs ordered.




 I

 i                                                                                RAW CAMEL DAIRY
                                                                                  camel Milk - 1-10 pt - S15.00/pt,
                                                                                    11 or more pt - S12.50/pt,
                                                                                  Camel Yogu rt-$ 11.001pt
                                                                                  Camel Kefir-S17.00/pt
                                                                                  Camel Milk Soap - S5.50/bar




     RAW HEEP MILK & DAIRY
     Milk - S14.00/qt (loaded w/Vita      C)
     Frozen Sheep Milk-S15,00/ 1/2 Cal.
     *colostrum-522.00/pt
     *Cottage Cheese-S18.00/pt
     Butter (salted & no salt) - 518.00   /    5oz.
     Yosurt - S12.00/pt, S 19.00/qt
     Kefir - S12.00/pt, S 19.00/qt
     *Fresh & Frozen Cream-S18.00/ 8 oz
     Lucious Lamp Sheep Cheese-$15.00/ 1/2 lb
     Cheese (Cave aged): Ewes Dream &
        Mild Shepherd's Delight - $16.50/lb
     Feta (salt & no salt)-$15.50/lb
     Tallow - S8.00/pt.


                                              \1PO q iAN   I ORDEqINu NEOqMA ltO\
We use insulated boxes with ice-packs acco.dingly. Prices subject to change without notice. When placing an order, it is your
responsibility to clearly specify exactly what you want as we have quite a few options such as: salted or unsalted cheese, fro-
zen or unfrozen meats, washed or unwashed & unrefrigerated e8gs, so please be aware ofsuch options.
                                                                                                           We are not liable for
any unclear orders but will use ou r best judgment. Thankyou kind ly for you r support, and we look forward
                                                                                                             toprovidjngyou
with healthy food.
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                                       RAW GOAT MILK & DAIRY
                                       Milk - , 56.00/qt, S10.00/hf eal
                                       Milk in glass bottle - S12.00/hf gal
                                       cream - S14.00/80z
                                       Kefir - S9.50/qt
                                       Yogurt - 59.50/qt
                                       Greek Yogurt (plain) - 58.00/pt
                                       Whey - S6.00/qt
                                       Cottage Cheese - S11.00/lb
                                       Chevre Cheese (soft):        sarric, prain   -S6.75/8oz
                                       Cheese (hard|: cheddar(sart & no sart)- S13.50/lb
                                       Goat Feta (salted & no salt)-S15/ l/2lb,573.5O/7lb
                                       Butter (specify salted or no salt) - S10.50/4oz
                                       Goat 11 Strain Probiotic Drink - 57.50/pt
                                       Goat Milk Soap - 53.50/bar
                                       Unscented Oatmeal Goat Soap-$3.75/bar
                                       Liquid Goat Soap - 56.7518 oz.




                                             WATER BUFFALO DAIRY & MEAT
                                              Milk - 56 00/pt, S10.00/qt, 519 so/hf gal
                                                         (S35.00/sal. coops onlv)
                                              Frozen Colostrurh - 59.50/pt
                                             cream-S14 00/8 oz.
                                             Yogurr - 58.00/pt, S13 00/qt
                                              Kefir-58 00/pt
                                              Raw Bufter-s12.50/ 1/2 tb.
                                             Buffeta - S12 50/ z lb block
                                             Camenbuff - S12.00/6 oz. wheel
                                             cheddar-s12 50/ 1/2 lb block
                                              Deli Deltght   cheese-S7250/ 7/2lb
                                              *lack Cheese-S12.50/ 1/2 lb
                                              Hot Jack Cheese-S12.50/ U2 lb
                                             cave Aged Cheese-512.50/ t/2 lb
                                             Soft Cheese Spec. flavor: plain, garli & chives,
                                             chipotle heat, herbal bliss- 56.7518 z.
                                             Egg Custard-S10.50/pt.

                                             Cottate Cheese-S12.50/pt.
                                             whey-S6.oo/qt
                                             Pet Food-56.75llb
                                             Tallow-S6.00/pt
                                             rce Lream   -   (van.) - 515.ou/qt.
                                             Buffalo Stix-S7 00/ U2 lb
                                             Ground Water Buffalo - S10.00/lb
                                             *6round Buffalo w/ organs-S14.00/lb
                                             Buffalo Cubes-S12.00/tb
                                             Buffalo Broth-58.75lpt, S12.75lqt
                                             lBacon-S17.50/lb
                                             *Marrow Bones-S18.50/lb
                                 ;           'Tenderloin-530.50/lb
                                             *Ribeye-S18.s0llb
          !                      i\:
                                             +New York Sreak-S18.50/Jb
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                                                  TURKEY   -   Soy-FREE
CHICKEN   -   Soy-FREE                            wh Turkey - s4.75lb
Whole Fryers (avg. 4-6 lb) - S 4.95/lb            Wh. Smoked Turkey - S5.75llb
Smoked Fryers (avg. 4-6 lb)-56.95/lb              Breast - s11.50/lb
Breasts,boneless (1/pk,avg.1lb) - S13.00/lb       Smoked, Sliced Breast-S 14.50/lb
Breasts, bone-in (1/pk, avg 1 % lb) - S10.50/lb   Tenderoin-S16.50/lb
Tenderloin ( no bone or skin) - S22.50/lb         Thishs - s11.50/lb
Legs & Thighs (2/pk, avg 7 %-Zlbl - S 5.75llb     Legs - S7.00/lb
Wings - $ 4.75llb                                 Wincs - S6.75llb
Necks & Backs (Upk, avg 2 lb) - S 5.75llb         Ground Turkey - S 1250lb
Hearts - S 15.50/lb                               Turkey Sausage - S13.50/lb
Liver - S15.50/lb                                 Turkey Heart - S9.50/lb
Gizzard - S5.75llb                                Turkey Liver-$9.50/lb
Whole Bird for Stock (avg 3 lb) - S4.00/lb        Tu rkey Gizzards-S5.50/lb
Heads for Stock - S2.OOlea                        Turkey Scrapple - S5.50/lb
Feet for Stock - S f.SO/ea                        Turkey Broth - 55.50/pt, 58.75lqt.
Fertile Eggs - 5l .OO/aoz
Pet Food: Ground - S5.75/lb
Chicken Fat Rendered - SE.zS/pt.                  GOOSE   -
                                                          Soy FREE
chicken Fat Raw - S3.50/lb                        Whole Goose (avg. wt 5 lb) - S10.00/lb
Liver Soup - S10.25lpt, S18.00/qt                 Goose Breasts- S77.oolb
Chicken Noodle Soup-S6.00/pt, S11.50/qt           Goose Gizzards-S15.50/lb
chicken Pie - s11 .00/6in,, sre.oo/g in           *Goose Eggs-S3.50/egg
Ground Chicken (soy free) - S11.50/lb
Chicken Broth - S5.50/pt, S8.75lqt



DUCK - Soy FREE
Duck (appx. 4-5lbs) - S7.50/lb
Half Duck - S8.00/lb,
Duck Eggs-S9.00/doz
Duck Heart-S25.50/lb
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                                                              chuck Roast - S5.50/lb
                                                              Round Roast - S7.50/lb
                                                              Eye Round Roast - S7.50/lb
                                                              Rump Roast - S9.50/lb
                                                              Ox tail, avg wt 1-3lbs @ S14.50/lb
                                                              Ox tongue - 58.50/lb
GRASSFED BEEF                                                 Soup bones - S8.75llb
Ground Beef S7.00/lb, 2lb fam.Pk - S6.00/lb                   Marrow bones - S16.50/lb
Ground Beef w/ organs - St2.00/lb                             Knuckle bones - 53.00/lb
G rou nd Beef Patties-58.00/lb
                                                              Regular bones - S2.50/lb
Beef Cubes - S7.50/lb                                         Beef heart - S10.50/lb
Beef Sausage - S7.00/lb                                       Beef kidney - S7.50/lb
Round Steak - S8.00/lb                                        Beef liver - S12.50/lb
Shoulder Steak w/ small marrow bone- S7/lb                    Adrenal glands - S18.50/lb
London Broil - 59.50/lb                                       Thymus glands-S18.50/lb
Delmonico - S13.00/lb                                         Thyroid glands-S18.50/lb
Beef Chip Steak - S9.50/lb                                    Beef Brains-S26.50/lb
Skirt Steak - S18.50/lb                                       Pet Food: ground beef & organs - $4.75llb
Sirloin Steak - 59.50/lb                                      Beef Broth - S5.50/pt, 58.75lqt
sirloin Tip - s9.50/lb                                        All Beef Bologna - S7.50/lb
New York Steak - S16.50/lb                                    All Beef Hotdogs - S8.50/lb
+Rib Eye Steak - S17.50/lb
                                                              Tallow - 53.2slpt, 55,75lqt
T-bone steak - s18.50/lb                                      Beef Fat - S2.50/lb
Beef Tenderloin - S28.50/lb                                   Beef Jerky - 56.75/4 oz
Beef Ribs - 54.50/lb
Brisket - s11.50/lb
Flank Steak - S18.50/lb




  VEAT
  Will sub. w/ beef if not in stock, all veal   is   frozen
  Ground veal - S9.50/lb
  Veal cubes - S10.50/lb
  Veal Broth - SS.SO/pt, 58.75lqt
  Veal Round Steak - S9.50/lb
  Veal Flank - S16.50/lb
  Veal   Liver - S29.50/lb
  Veal   Chuck Roast - S8.50/lb
  Veal   New York Steak - S18.50/lb
  Veal   Heart - S12.00/lb
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                                               Pork Shoulder, bone in (8-12 lb.) - S6.50/lb
                                               Bacon (raw & unsalted) - S12.50/lb
                                              Bacon (cured & salted) - S14.50/lb
                                              Country Bacon (cured-salted)- S11.50/lb
                                              Country Bacon (raw & unsalted)- S10.50/lb
                                              Canadian Bacon(cured & salted)- S11.50/lb
                                              Canadian Bacon(raw & unsalt) - S10.50/lb
                     t                        Spare Ribs (cured, salted) - 59.50/lb
                                              Ground Ham & Bacon (cured, salt) - S8.50/lb
MILK.FED PORK
                                              Pork Bra ins - s15.50/lb
Loin Roast, avg wt 2-3lb - S8.50/lb
                                              Hot Dogs (pork & beef, no n itrates)-$7.50/lb
Pork Chops - 58.25llb
                                              Pork Roll Bologna - S6.50/lb
Spare Ribs - S7.50/lb
                                              Lard - S5.00/pt, Sz.solqt, S12.so/s lb
steak - s7.00/lb
                                              Pork Organs - S5.50/lb
Tenderloin Steak - 521.50/lb
                                              Pet Food (ground pork w/organs) - S4.25llb
Roast, avg wt 2-4lbs @ S7.00/lb
                                              Pork Broth - S3.OO/pt, 55.50/qt
Ground Pork - S6.00/lb
                                              Pork Liverwurst - 55.50/lb
Ground Pork w/ organs - S6.25llb
Pork Liver-S5.50/lb
Sausage (rope) - 56.50/lb
                                                Mileri 0rqanc Fanx
Pork Sausage (loose) - 56.50/lb
Breakfast Sausage (links) - S7.50/lb
Italian Breakfast Sausage Links-S8.00/lb
Liverwurst Sa u sage S8.50/lb
                    -
scrapple - 55.50/lb
Ham Hock, raw & unsalted -S7.00/lb
Ham Hock, cured & salted - S8.00/lb
Raw Ham sliced - 55.00/lb
Cured and Salted Sliced Ham - S6.50/lb
Wh Ham cured-salt, avg wt 7-10 lbs @56/lb
Cured/ Salted Ham Steak (3/4" th)- S5/lb




SEAFOOD                                       LAMB
Alaska Wild Salmon-whole fillets 514.50/lb,   Ground Lamb - S12.00/lb
                    portions S16.50/lb        Lamb cubes - S16.00/lb
                                              *
lcelandic Haddock - 59.50/lb                    Lamb chops - S22.50/lb
Fish Broth - S7.50/pt, StZ.lSlqt              Lamb Broth - Ss.so/pt, S8.7slqt
                                              Lamb Roast - S16.50/lb
GOAT                                          Ground Lamb w/ organs - $14.50/lb
*G round 6oat-S 12.00/lb                      +Lamb Liver-S 12.00/lb
*Goat Cu bes-S 16.00/lb                       Mutton sausage-S12.50/lb
*Goat Chops-S24.50/lb                         Lamb Brains-S32.50/lb (OUT OF STOCK)
*Goat Roast-S18.50/lb                         RABBIT
*Goat Broth-58.5o/pt                          Whole rabbit (3 lb) -S10.50/lb
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                                                                   Nuts & Veggies
                                                                                 CRISPY NUTS
                                                                                  (72 oz bagl
                                                                     Almonds - S15.00
                                                                     Brazil Nuts - S14.00
                                              VEGGIES                Pecans - S15.00
                                            Pickled Beets -          Sunflower Seeds - 57.00
                                              54.oo/pt, Sz.oo/qt     English Walnuts - S16.00
                                  es-       /pt, S5.solqt            Pumpkin Seeds - 57.00
                    Zucchini Relish-S4.75lpt                         Black Walnuts - S15.00
                    Carrots-S3/lb.        Asp Puree-S7.50/pt         Cashews - 512.00
                    Pickled okra - Ss.Oo/pt, S9.50/qt                Seasoned Mix - 516.00
                    Frozen Green Peas-S12.50/lb.                     Trail Mix - 516.00
                    Sweet Potatoes-S2.00/lb                          Sweet & Spicy Nut Mix - 516.00
                    Fresh Raw Garlic-S8.00/lb (Out Of Stock)         Honey & spice Nuts-S15.00
                    Frozen Asparagus-S6.00/lb
                    +veggie Boxes-S45.00/le, & S35.00/sm


FERMENTED VEGGIES
Fermented Kimchee - 56.50/pt, S11.50/qt               Fermented Chow Chow-S5.5o/pt., 59.50/qt
+Fermented Kimchee Juice - 53.50/pt, 56.00/qt         Fermented carrots & onions - Sl.zslpt
Fermented Amos Ketchup - Ss.oo/soz, Ss.oo/pt          Fermented Beets-54.00/pt, S7.00/Ct
*Fermented Daikon Radish - 54.50/pt.                  Fermented Vege Mix - S5.50/pt
Fermented Daikon Radish Ju ice-S3.5o/pt.              Fermented onions - Sq.lslpt
Fermented Dill whole Pickles - 53.75lpt, S6.50/qt     Fermented Garlic-S8.00/8 oz
Fermented Pickle Relish - sa.so/pt, s7.50/qt          Beet Kvass - S5.00/qt
Fmtd. Bread & Buner Pickles - s4.00/pt, s7.50/qt      Horseradish - 55.7518c2
Fermented Cabbage Juice - S7.5o/qt
Fermented Sauerkraut - 54.50/pt, S8.00/qt
Fermented Tomato Salsa - 54.751pL
Fermented Hot Salsa - 54.751p|




                                     Flavors: Butter Pecan, Chocolate, Dandy Blend
                                                  Strawberry, Va nilla, Ginger,
                                                     Chocolate Pea nut Butter, Blackberry
                                                                   pleose specify flovor when ordering




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                                 Bakery, Staples, Treats & Drinks

BAKERY                                               TREATS
Soaked Breads: 5pelt, Wheat, Cinn-Raisin Wheat       Applesauce - S5.5o/pt
       (spec)- S6.00/loaf                            Apple Butter       - 54.oo/8 oz. ,
Sourdough Breads:Rve,Wheat, 7-grain (spec) S5/lf     57.OO/76 oz.
Sprouted Spelt Bread - S8.00/loaf                    Apple Cider Vinega r - 57 .25/
                                                     qt.
Sourdough Heritage Wheat Bread - S7.00/loaf
                                                     Jelly (S-berry, Blueberry, Red
Sliced Bread, any type - add 52.OO/loaf              Raspberry)-S5/8 oz
Angel Food Cake (half) - 55.50                       Frozen Blueberries-S6.00/pt.
Shoofly Pie (8") - 58.00                             Frozen Crushed Strawberries-S5.00/pt
Apple Pie (8") - 59.00                               Frozen Blackberries-S6.00/pt
Pumpkin or Zucchini Bread - S6.00/loaf               Black Raspberry        Juice-98.50/pt. (Out of Stock)
Muffins Gluten-free:Lemon-Poppy, Vanilla-Pecan,      EgBCustard - S7.50/pt
  Coconut, Blueberry(specify fl avor)57.50/hf doz    Homemade Mayonnaise - 54.50/pt
Almond Butter choc. chip Cookies (gluten free)-      Honey Mustard - 53.50/80z
   S6.50/ hf doz., S12.00/doz. (not 100% organic)    Kombucha Mushroom - 54.50
Coco. Choc.Chipcookies(gluten     f   ree)-          Homemade Peanut Butter-S6.50/8o2, 59.00/pt
                 S5.00/hf.doz., 59.s0/doz.           Homemade Granola - 59.00/16 oz.
STAPLES                                              Granola Bars - S3.00/bar
Celtic Sea Salt- coarses6.75llb, fine S10.25llb      Chemical Free sm. Popcorn Kernels - 56.50/lb
Honey(Orange Bloss.,Wild Flower) - S23.50/5lbs,      Potato Chips non-organic Zerbe - S5.50/1 lb
         58.OO/17 oz                                 Pot. chips Amos brand -S5.50/hf lb, 511.00/lb
*Really Raw Honey- S12.75115 oz., 539.75151b.
                                                     Sweet Potato Chips - 58.75/ %lb
Mille/s Raw Honey-512.5O1 L6 oz.                     Herb Salt-S4.50/ 4 oz. bottle
Maple Syrup (Grade A) - S14.50/qt.                   RawAlmondButter-514.50/8o2, S23.50/16o2
Maple Syrup (Grade B) - S16.50/qt                    Cashew Butter - 515.00/802., S25.00/pt
chee - S15.s0/pt                                     Garlic Spread - 54.75/5oz
Noodles, Spelt - S7.50/lb
                                                     GREEN PASTURES BLUE ICE
Noodles, sprouted Spelt - S9.50/lb
                                                     Butter Oil (plain, rasp., butter pecan)8oz - S55.00
Best Salad Vinegar - 54.5o/pt
                                                     Butter Oil Capsules(120 caps) - $39.90
"Dancing Goat" Olive Oil-S22.00/15.9o2
                                                     Royal Blend Fermented Cod Liver Oil & Butter Oil
Homemade Supertonic - S19.50/4 oz.                      (chocolate, plain, cinnamon)(8oz) - 543.50
vanilla Extract - 522.5014 oz.
                                                     Royal Blend Fermented Cod Liver Oil & Butter Oil
Chickweed Healing Salve-S5 /1o2,516.O0/4 oz.
                                                        capsules (120 caps) - 540.50
Coconut Oil -S19.50/qt., S56.00/gal (raw, cold-
                                                     Blue lce Fermented Cod Liver Oil (cinnamon,
   pressed,Philippine)
                                                        orange, mint, plainX8oz)-S37.50
Fmtd. coconut oil - S16.50/pt., S29.00/qt.
                                                     Blue lce Fermented Cod Liver Oil Capsules
DRINKS                                                     (120 caps)   -   S27.s0
Frozen Carrot Juice-S10.00/pt
                                                     Fermented Skate Liver Oil (orange)(8oz) - S36.50
Fermented Lemonade - 56.00/qt
                                                     Fermented Skate Liver Oil Capsules
Limeade-   S6.00/qt. Ginger Ale - $6.00/qt                 (120 caps)   -   S28.50
Frozen Cold Pressed Grape Juice - 59.501 Llz gal
                                                     Coconut hee -S23.50/27 02,S56.00/Cal
                                                                 G
Kombucha Tea - S5.00/qt
                                                     ROSITA REAL FOODS
Cranberry Kom bucha - S5.00/qt
                                                     Extra Virgin Cod Liver Oil - $42.00/5 oz
Fermented Sourdough Kvass - S6.00/2liters
Water Kefir (cranapple, blueberry, ginger, plain,
          cherry, apple, grape) - 57.00/qt
Raw Pear Cider - S E.OO/qt.,5lO.5O/ % gal.
Raw Apple Cider- 57.00/qt, $r0.50/ Y. gal, $t6/gal
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                                L st of Loca Food C ubs
    Our website enables you to sign up to become a member with the Amos Miller Organic Farm            -
    Private Membership Association. You can conveniently place your order online, to have the farm
    ship your foods to your door step - via either FedEx or UPS.
    For those of you living in the locations shown below, you can join a local Food Club in your area,
    instead and place your orders through the Club coordinator or their respective website. These Food
    Clubs arrange to place their orders as a group of members together, which often saves money due to
    lower shipping costs.

    Contact information for the local food clubs are shown below, by state and
    Iocation:


    A abama
    Auburn - Debbie Vail (334) 750-3276
    Birmingham - Rebecca Rodgers (256) 506-2960


    Ar zona
    Phoenix   -   Emily Heller (602) 380-4949


    Californ a
    Los Angeles     - Mary Smith (323) 774-2639
    Pasadena  -     Rebecca Thormure (310) 804-7073
    San Jose - Chris Hall (408) 830-4123 or Olga Alekseyeva     (408) 641-0262
    Yuccipa - Catherine Story (760) 680-1816


     Co orado
    Denver    -   Carol Oliver 1303) 250-7 687


     F orida
    Miami/Fort Lauderdale - Niki (646) 627 -4245
    Orlando - Diana Coughlin (407) 739-3446
    Titusville - Michele Collins (407) 221-6173 or Cinny Hall (386) 589-6931
    Tampa    -    Melissa Evans (813) 679-3424
    West Palm Beach./Martin        County    Anke Meyn (561) 512-7695 (www.pasturedfarmfoodclub.com)


     Georg a
     Kennesaw Cindy Tuft (770) 886-1509
ps://www. amosmil lerorganicfarm. com/local-food-club-associ ations/                                         411/20
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    Annapolis     -    Liz Retiqz (301) 807-5063


     Massachusetts
    Burlington     -   Karen Potter (781) 799-5329
    Chelsea   -   Cindy Gray (978)           '167   -0472 or Monika Vandusion (774) 573-007 5


     New Jersey
    Northern NJ        -    Paul Redcay (717) 729-5067 (Madison, Montchair, Bergenfield and Haworth)

    Southern NJ        -   Aaron Stoltzfus (717) 672-1586 or Sam (717) 672-1587 (Bordentown, Collinswood-Deptford,
    Dennisville, Cape May Courthouse, Mulica Hill, New Brunswick-N. Trenton)


     New York
    Eastern   NY           Paul Redcay   -    (71   7) 729-5067 (Chestnut Ridge, New Paltz, Beacon, Mt. Kisco, White Plains)


     North Caro na
    Cedar Point        -   Heather Charlotte (252) 342-7517- www.ncfarmfreshfood.com

    Durham    -   Jacob Williams (919) 414-9107 or Stella (919) 227-6504


     Pennsy van a
    Allentown     -    Paul Redcay 1717) 729-5067




ps://www.amosmillerorganicfarm.com/local-food-club-associations/                                                               411t20
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                                               How it works!
    Our Amos Miller Organic Farm is located in Bird-in-Hand Pennsylvania. We are a private membership
    association, where the food we deliver is traceable, pure and grown on nutrient dense soil, under traditional
    time-honored methods. You can read more about our farm here: Amos Miller Organic Farm.

    You must register as a member and pay a $35 membership fee to purchase from our website. If you are an
    existing direct member with the Amos Miller Organic Farm you will receive a $35 credit that will be issued to
    your credit card after the farm ships your first food order. Please email members@amosmillerorganicfarm.com
    to let us know ofyour farm membership so that we can confirm it. Since the website requires significant
    ongoing maintenance you will be charged an annual maintenance fee of$35 on the anniversary ofyour website
    membership signup to maintain your website account.




ps://www. amosmillerorganicfarm.com/how-it-works-and-faqs/                                                            411/20
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                                                        (r)




    Home   (4 |   FedEx/UPS (/FedExuPs_ep_73.html)


    FEDEX/UPS

      Thanks for your interest in our food! We deliver nationwide via FedEx/UPS, including Hawaii and
      Alaska. lf FedEx/UPS deliver to your area, then you're able to receive our food!

      FedexruPs Ground provide us with their best rates. The farm carefully packages/insulates the food to
      preserve frozen and perishable items up to thre6 days. lf you have a canier of preference, please
      specify in the "Comments" section when you place an order. Our ability to ship GROUND depends on
      what day you order and where you are located. The map below outlines the different regions with their
      respective kansit time.


            thapphi rrlm ZPlPcil co.lc     tZU




                    I rory I20rr I lDryr ! 40.F Iloryr                        El   60ry I7.o.r!

      How much does the shipping cost?
      \Men you place an order, an estimate of your shipping fee will be provided by the system




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      The final price may vary depending on the weight and shipping speed, GROUND vs EXPRESS.

      Once the package gets picked up by FedEx/UPS, the exact shipping fee will be added to your total




      What happens after I place an order?
      Your credit card is not processed at the time you place an order because modifications will be made to
      reflect weight adjustments, temporarily unavailable items, and FedE)iJUPS shipping fees.

      Once the food ships, you will receive an email containing the flnal invoice and tracking number.



      Order Details;

      - Maximum recommended transit time is THREE days

      - Latest scheduled arrival day is FRIDAY

      - Orders placed MONOAY TUESDAY WEDNESDAY ship 2-day Ground via FedE/UPS

      - Orders placed after 10 AM WEDNESDAY ship the following Monday to avoid weekend transit

      - Rushed orders placed before 10 AM THURSDAY ship only EXPRESS, at additional cost

      - Remote areas may requrre EXPRESS shipping

      - Ex: if you place an order THURSDAY and you're not located in the red area, it will ship EXPRESS to
      ensure FRIDAY arrival

      - Orders exceeding 70 pounds ship in multiple boxes

      - ltems are packaged in cooler boxes containing ice packs for insulation



      Please make sure that someone is home on the delivery day to receive your order

      A great feature provided by FedEx is the option to schedule delivery times for residential deliveriesl

      Once you receive a notification email stating that your package has shipped, go to FedEx Deliverv
      Manaqer (httos://www fedex.com/apps/fdmenrollmenu?locale=en US) or UPS Mv Choice
      (httos://www. uDs.com/us/en/services/trackinq/mvchoice.oaoe) to schedule a suitable delivery time for
      your busy schedule.

      lf you have questions about your order prior to shipment or regarding a problem upon delivery, please
      call the farm at (717) 556-0672.

      Members that live within close proximity to our farm are welcomed to pick up the food directly from us.




                                PRICE LIST & NEWSLETTER




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         Monday lhrough Thursday with delivery by Fridayfor UPS and by Saturdayfor FedEx and we use
               well insulaled boxes   lhtt   are carefully cold packed to   tllowfor transit times.

                      Shipphg fiDrn ZPIP ostal code 175G




                                                                                                       MJ
                                                                                                      uD




                                 r   oay E 2Oays S 3Oays ! t Day= 5Dap D 6 0ays                             7.   Days


               Your credil card is not processed when you place your order as we will need lo modify it to reJlect
               out-of-stock condilions, the aclual weights of items sold by the pound and lhe shipping charges which
               are made up of the FedEx/UPS delivery charge and the cost of cold packaging which includes well
               insulated boxes and ice packs. The charge      for   cold packaging rangesfrom $10 to $17 depending on
               the size of the insulated box. The usual FedEx/UPS charges are $18 or more depending on the
               weight of lhe shipment and the distance from the farm Shipping charges are relatively fcred so lhe
               larger lhe order lhe smaller the shipping cosl becomes os a percentage of fie btdl cost.

               Al lhe time you place your order you can choose lo receive an estimate of the shipping charges before
               proceeding with your order. In that case theJorm will not Jinalize your order with exacl weights of
               items sold by the pound but we will calculate the shipping cltarges and send you an email by lhe nexl
               business doy advising you so lou can decide whether or nol to proceed with the order. l/'e will not
               ploce your order unlil we hear from you that you w nl to proceed.

               After you place un order and thefarm processes il lo retlecl out-ol-stock conditions and the aclual
               weights of items sold by the pound ond lhe shipping charges the farm will include the tletailed invoice
               wilh your shipmenl. The invoice you receive from the website will show your original order, the totol
               dollar omounl ofthefarm adjuslments, lhe shipping and packaging charges and the invoice lotal
               which we will charge to your credil cord. If there are any discreptncies in your order please call the
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           minimize the possibility of breakage we suggest thal you choose plastic corrtainers over glass when
           you have a choice. If you have questions aboul your order before shipping or lhere is a problem with
           your order once it is delivered please call lhefarm al (717) 556-0672. Members can also pick up theit
           food order at lhe larm in person.

                                    How do I become a member?
           Please create your account by completing the membership sign up. Be sure to sign up for our newsletter
           which you can do at the bottom ofany page, to be able to receive our emails.

           Once you have created your account you can start placing orders. Your membership fee is $35.00 which
           renews armually to help defray the cost of website maintenance and the renewal date is the anniversary
           date   ofyour sign up.

                  Become a member risk free    - if after your lirst
                                                                  order you are unhappy for any reason and
                  you decide to cancel your membership, we will cheerfully refund your membership fee
                  back to your credit card. For current direct farm members requesting access to this
                  website this refund policy applies ifyou decide to cancel before your first order and before
                  you receive your $35 credit on your credit card.




                                    Can I cancel my membership?
                          You can cancel your membership at any time. Just send us an email to Membership

                  Ifyou   decide to cancel your membership after your second order we do not prorate membership
                                                    fees and there is no refund.




                                          How to place an order?
           Orders are placed through the website. There is a 10 PM deadline the day before shipping to place an
           order to ship Monday through Thursday. When placing an order, please speci| in the comment box         if
           you want "fresh" or "frozen" meats. Meats are normally shipped frozen. Also write "NO
           SUBSTITUTES" if you don't want the farm to replace an item with a similar item if the one you
           ordered is ttout of stocktt.




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             you can add or delete anything you like and the cart v,ill be held until youfinalize your order

               In lhe evenl that youforgot an item after you submitted your order, no problem. Although you
               can not "edit" your order any longer, as long as these chonges are made by noon the day of
               shipment you can call the   farm at (717) 556-0672 and we can add additional items          to   your order
               or replace/delete an item ft'om your order.




                                 Does the farm offer free items?
               Yes, the farm often offers a free food item every month     -   to those who order   $   100 or more   in
               lbod in a single order and request the free food item in the Order Notes on the checkout page.
               The free food item is available once per week. These offers are in the monthly farm newsletter
               which is sent to members who sign up for our newsletter. You can sign up for the newsletter at
               the bottom of any web page.




                         What payment methods are accepted?
           We accept all major credit cards as our sole payment method. When you place your order you will be
           prompted for your credit card information. Your card will not be charged at the moment you place your
           order, as the exact shipping charges and actual weights ofproducts or products that may be out-of-
           stock are not known until the order has been processed by the farm.

           Once the order is processed your invoice   will                       "Complete" to reflect actual
                                                             be adjusted and marked
           weights and shipping charges and that invoice will be emailed to you. A detailed invoice showing any
           changes to your order will be included with your shipment. Your credit card will then be charged. Your
           order must be paid before we ship your order. We will contact you ifthere is a problem processing your
           card.




                                    ls there an order minimum?
                   No, we do not have order minimums, but most members' typical orders are Sl25 and up in view of
                                                  cold packaging and shipping costs




                             What if I have to cancel my order?
       Please call the farm at (717) 556-067 2 before noon on the day   of shipment to let us know you wish to cancel
       your order.

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                                                        missing?
       Eggs are the most fragile items we ship. Our egg prices include     $l   per dozen for insurance against breakage.   If
       any eggs arrive broken please inform us at the   farft   at (717) 556-0672 and keep a tally. When the number    of
       broken eggs reach a dozen we will ship you a dozen replacement eggs free in a future order. In the event that an
       item was shipped incorrecfly or is missing from your order please call us at (717) 556-0672 so we can assist you
       and help you resolve the issue.




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                                        Miller's Organic Farm - A Private Menrbership Association                      F \a.nq, Li
                                        MEMBERSHIP CONTRACI (v.r-ApriD0r l)
                 Frr to 77*262-7202 OR M8il to: Millcr'r Ferm 54E Millcrcek School Rd, Bird-iD-Hrtrd, PA 17505
I,                                                                , for membership fee paid in hand, do hereby apply for membenhip in
Miller's Organic Farm, a private membership organization. With the signing of this membership agreement, Uwe accept the offer
made to become a memba of Millcr's Organic Fatm and have read and agree with the following Declaration of Purpose from Article
I of Miller's Organic Fam's Articles of Association.

l.        This Association of members hereby declares drat our main objective is to maintain and improve the civil righs,
constitutional gu&ant€€s, and political fi€€dom of every member and citizen of the United Slstes of Ame.ica. We believe that the
Constitution of the Unitcd States is one of the best docwnents cver devised by man, and the signas of th€ Declaration of
Independence did so out of love for their country.

2.       We believe that the First Amendment of the Constitution of the Urit€d States of America guaran@es ou. members the righ6
of frEe spc€ctl petition, assembly, and ftc right to gather to8ether for lhe lawful pupose of advisiDg and helping one another in
ass€r'ting our righrs under the Fcderal and Stale Constitutions and Stanfies.

          IT IS HEREBY Declard that we are exercising our right of "fie€dom of association" as guaranteed by the l" and l4'h
Amendmenls     oflhe U,S. Constitution and equivalent provisions ofthe various State Constitutions. This meirns that our association
activities ar€ rcstricted   1o the   privste domain only.

3.       We declare the basic right ofall ofour memb€rs !o select spokesmen from our number who could be expected tro give wis6t
counsel and advic€ conceming the need for, and availability and acc&ss to food and to select fTom our numbcr thoso members who are
the most skilled to &ssist and f8cilitate the actual performance and delivery ofproducts.

4.       We proclaim the Mom to choose and decide for ourselves the types of producls, servic€s, urd methods that we think best
for healthy eating and prevcnting illncss and diseasc of our minds and bodies and for achiwing and maintaining optimum wellness.
We proclaim and reserve the right to include healthy food opions that include, but are not limited to, cutthg edge discoveries and
farming practiced or us€d by any types of heal€rs or therapists or practitioners the world over whether traditional or nontraditional,
conventional or unconventional.

5.       More specifically, the mission ofour Association is to provide members with the highest level of food quality and the mosl
effective methods of producing said foods. We offer members these food options. OuI Association mderstands that wellness has
many dimensions and strives every day to stay on the leading edge of new technolosi that leads to beuer wholesome foods. The
Association strives ard provides the healfiy food choices in the most effec{ive means of delivery of these fmds at an affordable fee.
More specifically, the Association specializes in raw milk products and grass-fed meats and dcmands acc€ss to foods ofour choice.
The Association offers to members altemates ro other type foods and as a service and benefit to membeE.

6.         The Asrcciation will recognize any person (inespecrive of race, color, or religion) who is in accordance with these principles
and policies as a member, and will pmvide a rnedium through which its individual memben may associate for actuating and bringing
to fruition the purposes heraofore declared.

                                                   MEMORANDUM OF UIYDERSTANDING

I understand that the fellow members ofthe Associstion that provide prcducts and sewices, do so in the capacity ofa fellow member
and not in the capacity as a licensod wholesaler, retailer or provider. I fisther understand that within the associaaion no
wholesaler/retailer-custorn€r relationship exists but only a conb-act momber-memb€r Association rclationship. In addition, I have
freely chosen to change my lcgal stahs as a public consumer/customer to a private member ofthe Association. I further understand
that it is entirely my own responsibility to clnsid€t the recommendations and products offer€d to me by my fellow members and to
cducate myselfas to the efhcacy, risks End dcsirability of sa.rne and the acceptance ofthe offered or recommended producs and is my
own carefully considered decision- Any r€quest by me to a fellow memb€r to arsist me or prcvide me with ttre aforementioned
recommendations or products is my own fiee dccision in an exercisc ofmy rights and made by me for the bene6! and I agrre to hold
the Tnrskqs), staff and other worker memberc and the Association harmless from any unintentional liEbility for the results of such
recommendgtions and products, exc&pt for harm that resuls from instances of a clear and pres€nt danger of substzntive evil &s
derermined by thc Association, as stated and defincd by the United States Supreme Cqurt.

The Trustee and rnemb€rs have chosen Amos B. Miller as the person best qualified to perform services to m€mbcrs ofthe Association
ard entrust them to select other memb€rs to assist them in carrying out that servic€.

In addition, I uderstand that, sioce the Association is protected by the First and Founeenrh Amen&nents to the U.S. Constitution, it is
outside thejurisdiction and authority ofPederal and State Agencies and Authorities conoeming any and all complaints or grievances
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against the Association, any Truste{s), members or other staff p€asons. All rights ofcomplaints or grievances will be settled by an
Association Committee and will be waived by the membcr for the betrefil ofthe Association and its members- Beoause the privacy
and security of mernbeEhip records maintained within the Association, which have be€n held to be inviolate by the U.S. Supreme
Cout, the undersigned member waives complaint process. Any cuslomer/c.nsumer records kept by the association will bc shictly
protected and only rcleascd upon written request ofthe membcr. I agrec that violation of any waivers in this membership contrao will
result in a no contest legal proceeding against me. In addition, thc Association do€s not participat€ in any insurance plans,

Iagree to join thc Association, a private,memb€rship dssocialion under common law, whose members seek to help each other achieve
bener health and live longer with good quality products.

I understand that the providers who are fellow members ofthe Associalion are offering me products, servic€s and benefiB that do not
n€cessarily conform to conventiona.l producls on thc market.

As a membel I accept the goals ofhclping my body funclion bencr and chooEing food products that are very safe, realilng rha no
product testing is foolFoof. Other aspecs of informed consent will takc place in my discussions with the provid€rs and my fellow
members of the Association.

My aclivities within the Association a[E a privat€ m8iar that I rcfuse to sharE with StatE Medical Board(s), the FDA, FTC, State Milk
Board(s), USDA, Agricultural Board(s) and any other govemmental agency without my expnessed specific permission. All records
and doaument! remain as property of the Association, even if I receive a copy of them. t fully agree not to 6le a liability lawsuit
against a fellow member ofthe Association, mless that member hLs exposrd me to a clear and present danger of substantive evil. I
acknowledge that the members ofthe Association do not cary liability insurance.

fie Trusto{s) shall haye rhe right to sanction a mernber upon unanimous vote ofthe Tnrstee(s), after a hearing of the frcts where the
member may bc prcsent after notification. Th€ sanctions includc removal from active membership or imposing any other special and
necessary conditions upon any member who shall discredit or bring harm to the Association in any manner.

I enter into this agreement ofmy own free will or on behalf of my dep€ndent without any pressure or promisc of producs. I affirm
that I do not Epresent any Statc or Fedq-dl agcncy whosc purpcc is to r€gulatc and approve products. I have read and understood this
document, and my questions have been arswered fully to my satisfaction. I understand that I csn withdraw from this sgresment and
tcrminale my memb€rship in this asseiation at any time. Thcse pages and Article I of the articlcs of association ofthc Association
consist ofthe entirE sgreemsnt for my membership in rhe Association and they supersede any previous agreement.

I undrstand that the membeBhip fee entitles me to rcceive those b€nefits declarcd by the Truso(s) o be "g€neral bcn€fits" frEc of
furthcr charge. I agree to pay as levicd fios€ bcncfits that I rec€ive that are declared by the Trustees to be "special asscssments", per
Fee Schedule.

I enclos€ the sum of$35.00 (non-refirndable) es considcration for my lifetime membership contsct, "lifetim€" meaning ttre lifetime of
the membership association, said rerm @inning with the date of the signing of this conEact, &d by drcse presens do hereby certi!,
ancst and warant that I have carefully read the above and foregoing Miller's Organic Farm Contsctual Application for MembeBhip,
and I fully undcrstand and agree with same,

IN WITNESS WHEREOF I s€t my hand this         _         day   of                                    20



Member's Name (Please print legibly) (and n8ne of legd guardi8n ifapplicant under          IE   ye&s)


Member's Signature (and signature of legal guardian ifapplicanr under       1E   years)

Members Address and Phone #:


StrEet                                                         City                                State     Zip Code


Home./Work/Cell #'s                                                Email Address

Millcr'r Orgrnlc Ferrn
By

Approved rtrd rcccpted    thi!               dry   ol                                     20
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                                                   U.S. Department of Justice

                                                   United States AttorneA

                                                  Eastern District of Pennsyluania
Getuld B.   filliuar\ AUSA                         615 Chestnut Street   ,

Direct Dial: (21d 861-8786                         Suite 12So
Pacstmile: (21i 861- 8618                          Phibdpbhia, PennsALDsnia $106 4426
E-mail Addresr: Get aA. S\Jlltuan@usdoj. g ou      (2ld 861-82oo

                                                   August 9, 2016

\rIA FedEx
Mr. Amos Miller
Miller's Organic Farm
648 Millcreek School Road
Bird-in-Haad, PA 17505                                                                      @VERNMENT
                                                                                            . EXHIUT
                Re       USA v. Miller's Org anlic Fatn/Miller,                         I       3
                         U,S. Disbict Court. EDP.{ No. a6-ctt-27?2                      I F\o.,     q4
Dear Mr. Miller:

        As you }:now, on June 30, 2016, the Court ordered your farm and you to comply
rvith the U.S. Department of Agriculture's April 4, 2016 subpoena duces tecum. Amorr:g
other things, the Court ordered your farm and you to "produc[e] the documeDts ttrat ttre
subpoena . . . calls for." The Court further ordered ttrat "Violation of this Order is
punishable as a contempt of court."

       Among tle categories of documents that the subpoena requested rvere, for the
period January 2016 to present: "(9) Sales journals, invoices, ald all other sales
information for any and all meat, meat food products, poultry and/or poulEy products";
and "(ro) Computer generated documents, ilcluding records related to internet sales."

        Under the Court's June 3o Order, which permitted the U.S. Department of
Agriculture's Food Safety and Inspection Service ("FSIS) to begin its inspection on July
 tt,2e16, FSIS has been attempting (since July rr) to obtain ttrese documents ftom your
farm and you. I understand that, most recently, on July 28, 2016, you: (r) advised FSIS
Investigator Paul Flanagal that you maintain relevaat sales records on your neighbor's
computer; (z) showed Investigator Flanagan one of your farm's invoices; (3) expressed
concern about producing invoices on i,r.hich your customer-members' names ald
addresses appear; and (4) offered to produce, instead six months of"saritized" records
(that is, records fiom which customers' names and addresses, including city and state
information, would be redacted). I further understand that Investigator Flanagan, in
immediate follow-up, then requested that, wittrin to days, you produce three monttrs of
such invoices, from rvhich (he informed you) you could redact your members' names
ald street addresses but not city, state, and other hformation.

        According to lnvestigator Flanagan, yesterday, August 8: (r) you called him to
state that you are unwilling to provide any such sales records that include ci[r or state
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Mr. Amos Mi1ler
Miller's Organic Farm
August 9, 2016
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customer-member information, even if customer names and addresses are redacted;
(z) Investigator Flanagan responded that FSIS does not have an interest in tracking
down your members a:rd would not, in aly ev'ent, be able to identify tlem based on city
and state information; but (3) you neverttreless refrxed to provide ttre requested,
redacted sales information.

        This ofiice would like to avoid the necessity of having to file, next week, a motion
with the Court seekhg an order requiring your farm and you to show cause why you
should not be held ia civil contempt of the Court's June 3o Order. To avoid the need for
such a motion, we are providint you untii this Friday morni-ng, August 12, 2016, to call
Investigator Flanaga:l and arrange a time on or before T\resday, August 16, zo16, when
you will produce tle requested records. Moreover, to provide you with further
assura-nce ttrat FSIS is not seeking ttre records in order to identiff your members, but
rather merely (as Investigator Flanagan explained to you yesterday) to corroborate ttre
interstate aspect of your sales of meat and poultry products, the produced records can
redact name, adfuess, and city hlormation but must include all other (includhg state)
information.

       Ifyou   have a:ry questions for
                                     me-or, if your farm or you retain a:e attorney, if ttre
attorney has any  questions forme-please do not hesitate to call me, or to have ttre
attorney call me, at (zr5) 86r-8286.


                                                 Very   tuly   yours,

                                                  ZANEDAVID MEMEGER
                                                  United   Attorn ev



                                                 GERAI-D B. SULLIVAN
                                                 Assistant United States Attorney
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                                                    Fu   ll service

                                                    We offer a Full range of services from slaughrer to   lufther processed products and
                                                    everything necessary in betlveen. Vy'hrle ',ve cannot offer every producr or service, we do
                                                    our best to offer ds rrany options as possible so that our customers do not have to send
                                                    Lheir product to another processor for additional services. In the event that lve are
                                                    unable to offer the product or ser-vice that you are ooklng for, lve rrvL do our best Io
                                                    connect you with a processor who can.




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               Frorn specia ty cuts to cur ng and packaging options, we will do our best to meet your unique markeriIg needs




  If you are   a consumer or farmer interested in the specific processing procedures for each species, please see the following
                The information can be rather technical but if you want to know details, this is where to find them.




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 View the derails oF our beeF processrng    ..        Vlew the detarls of our bison    processing        View the details oF our pork processing




    Beef Work order                                     Bison Work Order                                   Pork Work order




 Smucker's Meats no longer process deer meat.

 Because of the volume of USDA inspected producls we process rt has become increasingly difficult to maintain the appropriate level of
 separation between inspected and non inspecred products. We believe our f rst obhgation is producing safe and wholesome products
 under USDA inspection.




 USDA Inspected




 All of rhe services and producrs that we offer are     u   nder the vig lant eye of USDA inspectors. A USDA inspector is presenr whenever any
 slaughter operations are conducted The inspector's job is to monitor and verify that livestock are healthy when slaughtered, handled
 humanely, and the flnished carcasses are clean so as to reduce the possibilrty of contaminatron A second USDA inspector monitors all
 other processes and while this inspector is not requrred to be on site at all times, this individual is responsible for cherking and
 verifying all the records associated with the Food saFery programs that we have established. USDA inspection is not a license or
 certifrcalon, rather it is granted ro plants that meet federal requirements as long the plants adhere to the applicable regulatrons.


 Species processed - We currently only process Beef, 8ison, and Pork

 Species not processed - We do not proaess lamb, goat, poultry, and veflson

 Non-inspected products

 Due ro the high standards of USDA inspection and the physical limitarions of our facility, we do not offer processinS of products that
 have not been subjecred to USDA nspection. We will process products from meat that has been processed at other plants but ir must
 come to us with the proper labeling and marks that ir was processed under USDA inspection prior to arrival at our faciliry. l\.4eat
 producrs rhat arrive without the proper rnspecrion or proof of inspection, will not be accepted for processing at this Facility. This
 includes but is not limited to deer meat.




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                                        Customized Processing
              What is a full service-customized USDA inspected processor?

                                           Full service

                                           We offer a ful range of services from slaughter to further processed products and
                                           everything necessary rn betlveen Whrle we cannot offer every product or serv ce we do
                                           our best to olfer as many optrons as poss b e so that oLrr customers do not have to send
                                           therr product to another processor for addit onal serv   ces ln the event that we are unable
                                           to offer the product or servrce that you are lookrng   for we w ll do our best to connect you
                                           w th a processor who can




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            From specra ty cuts to cur ng and packag ng options we   wil do our besl lo meet your    Lrnique   ma   etrng needs




  lf you are a consumer or Iarmer interesled in the specific processing procedures tor each species, please see the following
                The intormation can be rather technical bul if yoLl want to know details, this is where to find them




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 Beef Processing                                 Bison Processing                                   Pork Processing
View the details of our beef processrng          Vrew the details of our bison                      View the details of our pork processing
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   Beef Wotk Order                                 Bison Wotu Ordet                                       Potk Wotu Ordet


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 under USDA inspectron




 USOA lnspected



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slaughter operatrons are conducted The inspector s lob rs to monrlor and verify lhat livestock a re healthy when sla ughtered handled
humanely, and the finished carcasses are clean so as to reduce the possrbrlity of contamrnation A second USDA inspector monrtors all
other processes and while this inspector is not required to be on site at all times this indlvidual is responsible for checking and ventyrng
all the records associated wilh the food safety programs that we have established USDA inspection rs not a lrcense or certifrcation,
ralher rt rs granted to plants that meet federal requirements as long the plants adhere to the applicable regulations



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come to us wrth the proper labeling and marks that rt was processed under USDA inspection pr or to arrival al our facility Meat products
that arrive w ithout the proper rnspection or proof of rnspection will notbe accepted for processing atthis faciity This includes but rs not
Imrted to deer meat



O 2019 Smuckers Meats   LLC    Websle By lreblet Web   Desig,        735 P nkerlon Road [,,!ount Joy PA   17552   717 653-0303      Srte lt4ap



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Honorable Edward G. Smith                                                                               3
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Judge, United States District Court
The Holmes Building, 4'h floor
l0 I Larry Holmes Drive
Easton, PA l8M2

           Rc:         LSA r. Nlillcr's Organic I arnr & Arnos )Iille r, No. l6-cv-2732

Dear Jud-qe Smith:

        As Your Honor is aware, I represent plaintiff United States of America in this action
enforcing an April 2016 United States Department of Agriculture ("USDA'), Food Safety and
Inspection Service ("FSIS") subpoena- The subpoena sought inspection access to meat-and-
poultry-related documents and facilities of defendant Miller's Organic Farm, which is located in
Lancaster County, Penasylvania and owned by defendant Amos Miller.

       This letter rs the United States' case-closing status report and fulfills Paragraph I I ofthe
Court's November 3, 2016 Order. (Docket Entry No. 30.)

        The FSIS inspection access that the Coun enforced in this action revealed serious
statutory and regulatory violations that defendants, despite notice and opportunrty, have failed to
corrcct. Thercfore, as explained below, although no furtherjudicial enforcement of the April
2016 subpoena is required, and this action may now be closed, defendanls' continuing failures to
correct those violations may soon lead to the United States seeking funher federal district court
enforcement in a separate proceeding.

                                              Background and   Sta tus


         Following a June 28, 2016 show cause hearing, at which defendants appeared pro te,
Your Honor granted FSIS certain requested access to Miller's Organic Farm's facilities and
records. See Dkt. Entry \o. 7 (June 30, 2016 Order). When the Unrted States later moved for
relref on grounds that Mr. Miller had not adequately permitted the ordered acccss, the Court held
a November l, 2016 show cause heanng, at which: (l) defendants appeared with counsel for the
first timel and (2) thc parties entered into a Consent Order See Dkt. Entry Nos. l6
(govemment's motion). 28 (minute entry), and 30 (Consent Order).
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        The terms ofthe Consent Order included that: (l) by December 23, 2016, and in order to
avoid a 5500-per-day non-compliance penalty, defendants would complete a rolling production
ofcertain redacted meat and-poultry-related sales invoices for three calendar months of 2016:
(2) within 90 days after the end ofthat production, FSIS could retum ro Miller's Organic Farm ro
assess whether defendants had cured FSIS-determined/noticed violationsl and (3) within ten days
following FSIS's rehrm visit, the United States would file a case-closing status report.

        By December 23, 2016, defendants produced ro the United States (in a highly
disorganized format) meat-and-poultry-related invoices. In a January 12,2017 affidavit, Amos
Miller testified that these represented, 1o the best of his knowledge. all such Miller's Orgaruc
Farm invoices for the months ofJuly, August, and September 2016. Although many invoices
failed ro include purchasers' State location information, Mr. Miller further testificd that, to the
best ofhis knowledge, his agents and he had not redacted such information. Based on Mr.
Miller's affidavit testimony, the government proceeded as though defendants had completed the
ordered invoice production.

     Accordingly, on February 10, 2017, USDA/FSIS's Enforcement and Litigation Division
      Miller - by Certified Vail, FedEx, and Firsl-class mail the enclosed "Notice of
sent Mr.
Waming" letter, The Notice of Waming stated, in part, that:

                     I   .The Federal Meat Inspection Act (Meat Act), 2l U.S.C. $ 601 , e/
         seg. and the Poultry Products lnspection Act (Poultry Act), 2l U.S.C. $ 458, at
         seq., prohrbit the "[s]ale, lransponadon, and offering lor sale or transportation of
         non-exempt[, non-federally inspectedl meat and poultry for human
         consumption[.]"

                 2.     The invesligation fmits ofFSIS's April 2016 subpoena showed
         that Miller's Organic Farm is "engaged in the slaughter, processing, sale and
         transportation ofuninspected meat and poultry products in violation of' these
         statules.

                 3.     For example: (a) "[FSIS] officials . . . observcd and photographed
         non-federally inspected meat and poultry products bearing the Miller's Organic
         Farms label": and (b) "Ii]nvestigators obtained rnformation showing that non-
         erempt meat and poultrv products were non-federallv inspected and [were]
         sold to various retail customers" "across state lines."

                 4.      "Miller's needs to take action to bring its food operations into
         compliance with FSIS laws and regulations. To achieve compliance, Miller's may
         [ ] appty for and obtain a gant of Federal inspection service, [2] conduct retail
         and/or custom operations under the exemptions from inspection as provided in the
         statutes and regulattons, anrVor [3] cease any activities involving FSIS-regulated
         products."
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Honorable Edward G. Smith
March 27 ,2017
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                 a   "For information on how to apply for a grant of inspection, you may
                     contact the Office of field Operations, Philadelphia District Office at
                     (215) 597 -4219. You may also access the FSIS website at
                     http://www.fsis usda.qov"
                b.   "For morc information regarding retail exempt operations, you may
                     contact the Compliance and lnvestigations Division, Northeast Region
                     at (215) 430-6222."

                5.       "The Agency takes violations ofthe statutes and regulations very
         seriously and strictly enforces the inspection. exemption, and other requirements
         to ensurc food safety and protect the public health. To this [end], FSIS applies its
         IMeat Act and Poultry Actl aulhorities . . . to control, detain, and seize meat and
         poultry products that are adulterated, misbranded, non-federally inspected, or not
         exempt from inspection. - . . FSIS also initiates enforcement actions and
         sanctions, consistent with its public health objectives, for continued or serious
         violations, In addition to waming letters to seek compliance, the statutes providc
         for criminal and civil sanctions, including injunctrons to enforce and prevent
         violations. and criminal prosecution."

                6.      By "no later than March 23, 2017," "lc]ompliance investigators
         will conduct follow-up activities at your lacility to verify your compliance with
         FSIS requirements. . . . Please be advised that FSIS may initiate achon, including
         referral to the United States Attomey for initiation of criminal or civil
         proceedings, if the Agency determines that [you] continue to violate Agency
         requirements, despite notice and opportunity to comply. Also, please be adviscd
         that meat and poultry products found at the facility that are in violation ofAgency
         requirements are subject to detention and seizure."

          The Notice and Warning letter closed by providing Mr. Miller with information on how
to contact the Enforcement and Litigation Division and FSIS with "any questions regarding this
letter, the law. or available compliance options."

        On March 16,2017, three FSIS investigators conducted a follow-up inspection/
compliance visit to Miller's Organic Farm. The investigators focused on whether and to what
extent, if any, Miller's Organic Farm had corrected the non-compliance items identified in the
Notice of Waming letter.

         According to the investigators, Mr. Miller acknowledged during the follow-up visil that:
( t) he received the Nolice of Warning letter, which in his view offered no realistic solutions,
because his customer-members do not want their products to be federally inspected; and
(2) consistent with the investigators' observations, he had not changed his business practices that
FSIS had identified as non-compliant and unlawful. That is, Miller's Organic Farm continues to
slaughter. to process, to offer for sale and transportation, and to transport and sell to retail
         Case 5:19-cv-01435-EGS Document 1 Filed 04/04/19 Page 97 of 97




Honorable Edrvard   G   Smith
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Page 4

custontcrs across the Llnitcd States - without any USDA inspection or exemption from
inspection Miller's Organic Farm's meat, meat food, and poultry products.

        At the conclusion of thc March I 6, 20 I 7 inspection, rhe FSIS investigators engaged in a
question-and-answer session with Mr. Miller and several ofhis employees. The topics included
(as during past inspection visit discussions) the custom slaughter exemption, the retaiI sales
exemption, and the federal inspection requirement. An FSIS invcstigator once again offered to
provide rnformalion on how to apply for a grant of federal inspection and invited Mr. Miller and
his employees to contact him with any further questions. The investigators also once again
strcssed to Mr. Millcr that he must take prompt action to become federally compliant.

        As directed in the Court's November 3, 2016 Order, the United States now provides this
status report ten days following FSIS's site visit.

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         This civil action sought only to enforce subpoenaed FSIS access to Miller's Organic
Farm and its records so that FSIS could assess whether Miller's Organic Farm's operations were
and are complfng with thc Meat and Poultry Acts and their implementing regulations. Although
USDA,/FSIS did not obtain the full access that it sought and to which it is entitled under law, the
access rhat defendants granted was sufficient to determine, as discussed above, that Mr. Miller
and I\{rller's Organic Farm are non-compliant with these statutes and regulations requiring
federal inspection. Therefore, the Court may dismiss this action.

        Now that FSIS has provided Mr. Miller with ample notice and opportunity to correct the
wamed-about violations or, at the very least, to agree to a reasonable plan ofcorrection, his
continuing violations put him at immediate nsk of further enforcement, as described in the
Notice of Warning letter. This includes the risk that USDA"/FSIS will detain and./or seize his
meat and poultry products and/or that USDA/FSIS may refer the above-described findrngs of
violarions ro the Unitcd Statcs f)epartment of Justice for consideration of criminal and/or civil
enforcement against Mr. Miller and/or Miller's Organic Farm. Civil enforcement, for example,
could include a federal district court Complaint in a new civil action seeking injunctive relief.

                                                     Respectfully.
                                                     LOUIS D. LAPPEN
                                                       trng IJn itcd States    rmey

                                                                     E
                                                     GERAI-D t]. SIJLLIVAN
                                                     Assistant United States Attomey

Encl. (Notice of Warning Ltr. dated Feb. 10,2017 from USDA/FSIS to Amos Miller)
cc: Mr. Amos Miller, pro se (via FedEx) (wi encl.)
